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      Detail by Entity Name
      Florida Limited Liability Company
      VBS LABORATORIES, LLC
      Filing Information

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      1140 HOLLAND DRIVE
      SUITE 2
      BOCA RATON, FL 33487
      Mailing Address

      1140 HOLLAND DRIVE
      SUITE 2
      BOCA RATON, FL 33487
      Registered Agent Name & Address

      VENTRELLA, ANTHONY
      1140 HOLLAND DRIVE
      SUITE 2
      BOCA RATON, FL 33487
      Authorized Person(s) Detail

      Name & Address


      Title MGR


      VENTRELLA, ANTHONY
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      Annual Reports

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      2016                       04/28/2016


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                                                             Florida Department of State, Division of Corporations




http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=Entity... 2/27/2020
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          2.      The government requested in conference that Blackstone Labs dismiss its petition

   for lack of jurisdiction. This Court lacks jurisdiction for a petition in equity for return of

   property where there is a pending indictment. The Indictment against Blackstone Labs was

   returned by a Grand Jury in this District on March 7, 2019. United States v. Blackstone Labs, et

   al., ECF No. 1, Docket No. 19-CR-80030-WPD (hereinafter “the Indictment”). The pending

   criminal case provides a clear and adequate remedy at law. For an overview of precedents

   requiring the Petition be dismissed, see the United States Motion to Decline Jurisdiction or for 90

   Day Extension, ECF No. 24, p 8-17. As argued in the government’s motion, “the Court should

   not consider the Petitioner’s motion where Petitioner has unclean hands, cannot articulate an

   irreparable injury, and will have an adequate remedy at law.” Id. at p. 2.

          3.      Defendants in the criminal case are required to file motions by September 17,

   2019, and Blackstone Labs recently moved for a continuance of the deadline. ECF No. 180,

   Docket No. 19-CR-80030-WPD. Petitioner has had more than four months to file a motion for

   return of property in the criminal case and has provided no reason why a motion for return of

   property under Fed. R. Crim. P. 41(g) cannot be decided by Judge Dimitrouleas, who is presiding

   over the criminal case and is the proper venue in which such a motion be brought and heard.

          4.      A movant’s decision not to pursue an adequate remedy at law does not vindicate

   his claim for equitable jurisdiction. E.g., United States v. Foster, 635 Fed. App’x. 818, 822 (11th

   Cir. 2015) (concluding that it was improper to exercise equitable jurisdiction when the property

   owner elected to forego the procedures for seeking a remedy at law).

          5.      The government maintains that the items listed in the Petition are relevant to the

   pending criminal case and that each item cannot be lawfully returned or sold. See Exhibit A for

   a list of products in the Petition and alleged violations.
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          6.      There is no way that this Court can take evidence on the products without

   impacting the criminal proceeding. All of the items were seized pursuant to a judicially-

   reviewed warrant authorizing seizure of fruits, contraband, evidence, and instrumentalities of

   violations of the Food, Drug, and Cosmetic Act, (21 U.S.C. §§ 331(a), 331(d), 331(v) and

   333(a) (interstate distribution of misbranded or adulterated food, unapproved new drugs, and

   unsafe dietary supplements), 18 U.S.C. §§ 1341 (mail fraud), 1343 (wire fraud), and, 1349

   (conspiracy to commit mail and wire fraud) occurring after January 1, 2012. The warrant

   explicitly authorized the seizure of dietary supplements. To examine whether the warrant was

   overbroad or facially deficient is an issue to be handled in the criminal case.

          7.      The pending Indictment alleges a broad scheme to defraud the FDA and

   consumers by selling unlawful and unsafe products, and the seized items are examples thereof –

   and therefore relevant to the criminal charges. The Indictment alleges Blackstone Labs illegally

   distributed multiple categories of unlawful ingredients, lists seven specific products as examples,

   and alleges distribution of “other products that violated the [Food, Drug, and Cosmetic Act].”

   Indictment at p. 10, ¶ 11. Petitioner is requesting return of seized items that are evidence of the

   “other products” that violated the FDCA, and are relevant to the criminal case.

          8.      The Indictment also alleges that the manner and means of the conspiracy to

   defraud included falsely claiming that all products were manufactured in “an FDA approved,

   registered and inspected facility that maintains [Good Manufacturing Practices] certifications and

   follows all FDA guidelines.” Indictment at p. 9, ¶ 8. Evidence shows the majority of the items

   in Exhibit A were manufactured at facilities whose manufacturing processes did not conform

   with current Good Manufacturing Processes (“cGMP”), 21 C.F.R. Part 111, and thus could not

   be legally distributed to consumers.
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           9.      The government’s reasons for declining to return each of the items is based on

   violations of the Food, Drug, and Cosmetic Act and/or violations of the Controlled Substances

   Act. These items are not just evidence in a pending case but are contraband. The Court should

   not permit Petitioner to retrieve contraband and sell it to consumers.

           For the foregoing reasons, the Court must dismiss the Petition, and Petitioner must seek

   its requested relief in the criminal case.



   Dated: August 5, 2019

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY

                                                 JOSEPH H. HUNT
                                                 ASSISTANT ATTORNEY GENERAL
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was served by ECF on
   August 5, 2019 on all counsel or parties of record on the Service List below.

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                                                      U.S. Department of Justice
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                 ALLEGED VIOLATIONS INVOLVING THE SEIZED ITEMS
          Petitioner requested return of the following items. Petition, ECF No. 1, at 3.
          The summary does not list every possible violation of the Food, Drug, and Cosmetic Act,
   21 U.S.C. §331 et seq. involving the seized items.


    Items Requested for Return in the Petition       Alleged Violations
    (Product Marketing Name)
    Anesthetized                                     Misbranded food (21 U.S.C. §343(a)(1))
    Anogenin                                         Adulterated food (21 U.S.C. §342(f)(1)(B))
    Brutal 4ce                                       Controlled substances (21 U.S.C. §§ 841(a),
                                                     (b)(1)(E))
    Chosen 1                                         Controlled substances (21 U.S.C. §§ 841(a),
                                                     (b)(1)(E))
    Cobra 6 Extreme                                  Adulterated food (21 U.S.C. §342(f)(1)(B))
    Cobra 6 Extreme Kiwi Strawberry
    Cobra 6 Extreme Watermelon
    Dust Black Lemonade                              Adulterated food (21 U.S.C. §342(f)(1)(B))
    Dust Blue Sky
    Dust Cotton Candy
    Dust Red Ice
    Dust Watermelon
    Dust Extreme Pineapple                           Adulterated food (21 U.S.C. §342(f)(1)(B))
    Dust Extreme Sour Gummy
    Eradicate                                        Unapproved new drug (21 § U.S.C.
                                                     321(ff)(3)(B)); Misbranded food (21 USC
                                                     343(a)(1)
    Gear Support                                     Unapproved new drug (21 § U.S.C.
    Gear Support Raspberry Lemonade                  321(ff)(3)(B)); Misbranded drug (21 U.S.C. §
                                                     352(a)(1))
    Growth                                           Adulterated food (21 U.S.C. §342(f)(1)(B))
    Growth Pineapple
    PCT V                                            Unapproved new drug (21 § U.S.C.
                                                     321(ff)(3)(B)); Misbranded food (21 USC
                                                     343(a)(1))
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    From: +15044951552 Ronnie        5/15/2015   K
                                     5:17:40
    To: +19549073275 Gill            PM(UTC-4)
    From: +19549073275 Gill          5/15/2015   Can go bye Mon and fix thanks
                                     4:50:32
    To: +15044951552 Ronnie          PM(UTC-4)
    From: +14048232328 Matt          5/15/2015   May need to overnight some items to get them
                                     4:46:46     through
    To: +15044951552 Ronnie          PM(UTC-4)
    From: +14048232328 Matt          5/15/2015   Can you get me the tracking number for TNS
                                     4:45:46     Fayetteville and Jacksonville they are freaking
    To: +15044951552 Ronnie          PM(UTC-4)   out needed the order before tomorrow
    From: +193639452                 5/15/2015   AT&T Free Msg: Reminder, your bill is ready. To
                                     2:48:05     make a payment now for your balance of
    To: +15044951552 Ronnie          PM(UTC-4)   $202.37 using your credit card ending in 6218,
                                                 reply 1 and press send. For more payment
                                                 options, reply 2 and press send. There is no
                                                 need to call.
    From: +160680                    5/15/2015   MIA had an absence on 05/15/15.
                                     11:00:07
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015       I appreciate it
                                     10:56:13
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   We'll do our best to finish it quickly.
                                     10:55:46
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   I know
                                     10:54:27
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   We are trying yo keep them up but these
                                     10:53:50    machines are making it difficult.
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   K. Start on that the we will finish the rest of the
                                     10:52:46    ostarine. We have to get our numbers up..
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   Its about a quarter of the container left. We also
                                     10:49:54    have 335g of Ostarine
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   yea. That's not much though. Is it
                                     10:49:21
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   Well we have the rest of the powder from
                                     10:48:34    yesterday that we couldn't finish because of lack
    To: +15044951552 Ronnie          AM(UTC-4)   of capsules.
    From: +15044951552 Ronnie        5/15/2015   K. Thanks bud
                                     10:48:06
    To: +15616768390                 AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   How much ostarine do we have. 800grams or so
                                     10:47:38
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   We got in more purple capsules, do you want us
                                     10:46:02    to just finish the Ostarine or just move on to
    To: +15044951552 Ronnie          AM(UTC-4)   Eradicate?
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    From: +15044951552 Ronnie        5/15/2015    you have to unroll half of them. Try not to miss
                                     10:44:09    them up to bad.
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15616768390               5/15/2015   Computer is ready
                                     10:35:47
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   I have to unroll some of them off the 2000 count
                                     10:12:50    roll before I can label the rest. Also we only
    To: +15044951552 Ronnie          AM(UTC-4)   have 616g of Arimistane.
    From: +15044951552 Ronnie        5/15/2015   Are yall finished bottling and labeling all the
                                     10:10:57    ostarine
    To: +15615783517 Matt Mosier     AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   Got it
                                     10:08:56
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   Nah. Mix 1000g of arimistane (eradicate) and
                                     10:08:12    21.8kilos of flour. It will make 635 bottles. Clear
    To: +15615783517 Matt Mosier     AM(UTC-4)   bottles and black caps. 90ct
    From: +14048232328 Matt          5/15/2015   It really requires several hundred off to make it
                                     10:05:22    worth it
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +14048232328 Matt          5/15/2015   Let's see what he says
                                     10:04:45
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   Thats right. It's still 4600
                                     10:04:26
    To: +14048232328 Matt            AM(UTC-4)
    From: +15615783517 Matt Mosier   5/15/2015   Hey Joey, do you want us to hold off on
                                     9:50:20     Eradicate until we have the capsuler has
    To: +15044951552 Ronnie          AM(UTC-4)   running?
    From: +14048232328 Matt          5/15/2015   I told him 4600 currently and to let me know
                                     9:41:58
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +14048232328 Matt          5/15/2015   Checking
                                     9:41:24
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   I think 4500. Can you get it cheaper
                                     9:41:08
    To: +14048232328 Matt            AM(UTC-4)
    From: +14048232328 Matt          5/15/2015   What's the cost on a kg of epi from spring?
                                     9:40:15
    To: +15044951552 Ronnie          AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   My guy just texted me back. They will be sent
                                     9:28:56     today via FedEx. He will have the epi tuesday
    To: +14048232328 Matt            AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   My guy just texted me back. They will be sent
                                     9:28:45     today via FedEx. He will have the epi tuesday
    To: +14048232328 Matt            AM(UTC-4)
    From: +15044951552 Ronnie        5/15/2015   K. If they didn't go out yesterday I'll send today. I
                                     9:27:00     wasn't around the office yesterday evening so
    To: +14048232328 Matt            AM(UTC-4)   I'm not sure if they were sent
    From: +14048232328 Matt          5/15/2015   Don't forget to send that 500 epi, and let me
                                     9:24:48     know. He waiting for that to pay the balance
    To: +15044951552 Ronnie          AM(UTC-4)
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    From: +15044951552 Ronnie     5/15/2015   I'll send them. I'll order some more Epi too bud
                                  9:22:38
    To: +14048232328 Matt         AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   I have a couple 1k bottle runs lined up, will need
                                  9:02:13     epi to fill them
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Do 2X to be safe, maybe just 2 T's and 1 polo,
                                  9:01:12     don't want to be greedy.
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +15044951552 Ronnie     5/15/2015   It slowing down for me too. I need to start hitting
                                  9:00:48     the phones hard again
    To: +14048232328 Matt         AM(UTC-4)
    From: +15044951552 Ronnie     5/15/2015   They look good. Just the company logo on the
                                  9:00:15     front. The back says where muscle meets
    To: +14048232328 Matt         AM(UTC-4)   science. The shirts are the same type that
                                              Blackstone uses. Not sure how they fit. I also
                                              have a Polo Shirt or two I can send. Up to you.
    From: +14048232328 Matt       5/15/2015   I don't like that shit, even though I know it's
                                  8:58:23     normal.
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Seems to have started slowing mid-late April.
                                  8:58:00     Across the board for me.
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Weeks I meant
                                  8:57:24
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Has it been slow for you the past couple of
                                  8:57:16     months?
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   You still gotta get these email addresses, and
                                  8:56:59     let's catch up on other stuff
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Did we get our slogan on there?
                                  8:56:22
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   How do they look?
                                  8:56:09
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Depends on the fit, usually XL, but a lot of cuts
                                  8:55:59     are 2X
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +15044951552 Ronnie     5/15/2015    what size shirt do you wear. I'll send you some
                                  8:55:12     shirts if you want.
    To: +14048232328 Matt         AM(UTC-4)
    From: +15044951552 Ronnie     5/15/2015   K bud. I will as soon as I get to my office
                                  8:51:36
    To: +14048232328 Matt         AM(UTC-4)
    From: +14048232328 Matt       5/15/2015   Please do, and shoot me tracking when you can
                                  8:50:53
    To: +15044951552 Ronnie       AM(UTC-4)
    From: +15044951552 Ronnie     5/15/2015   I believe they went out yesterday evening. I'll
                                  8:50:25     check with my guys to make sure.
    To: +14048232328 Matt         AM(UTC-4)
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    From: +14048232328 Matt       5/15/2015   Did you get a chance to ship the 500 epi
                                  8:49:28     unlabeled?
    To: +15044951552 Ronnie       AM(UTC-4)
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    From: +12259789237 Pops             8/4/2015    Prayer works?
                                        10:45:43
    To: +15044951552 Ronnie             AM(UTC-4)
    From: +14048232328 Matt             8/4/2015    I asked about expediting, waiting to hear back.
                                        10:37:03    Never tell anyone on your end about our
    To: +15044951552 Ronnie             AM(UTC-4)   business, Ben mentioned the Tia to me
                                                    yesterday, I def don't want it getting back.
    From: +14048232328 Matt             8/4/2015    My guy said it should be ready to ship in 2 days
                                        10:35:55
    To: +15044951552 Ronnie             AM(UTC-4)
    From: +12259789237 Pops             8/4/2015    I pray that your surgery will be short and
                                        9:31:23     effective and that God will bless you with a more
    To: +15044951552 Ronnie             AM(UTC-4)   gracious life!
    From: +15044951552 Ronnie           8/4/2015    Well I have the guys working to get what you
                                        9:16:08     need out tomorrow. You are our priority one
    To: +18583820137 Brian Mohr         AM(UTC-4)   right now with business:) so if you need
                                                    anything don't hesitate to contact me. I am in
                                                    constant contact with the boys at the warehouse
    From: +18583820137 Brian Mohr       8/4/2015    Ouch. Ok, no worries. Thanks for hitting me
                                        9:14:20     back but I'll just chill and you guys handle that
    To: +15044951552 Ronnie             AM(UTC-4)   and he can give me a call later depending on
                                                    how he's feeling. Business is business but
                                                    there's a lotta things more important than it.
                                                    Hope you enjoyed up north too. Talk soon.
    From: +15044951552 Ronnie           8/4/2015    Hey Brian this is Ashley. I have Joey's phone I
                                        9:11:14     don't think he told you he is having a surgical
    To: +18583820137 Brian Mohr         AM(UTC-4)   procedure this morning. They found skin cancer
                                                    and removing the area. Text him or me 225-
                                                    938-0526 if you need anything we should be
                                                    done by this afternoon. He has his phone
                                                    periodically through this. They just called him
                                                    back k again
    From: +18583820137 Brian Mohr       8/4/2015    Awesome. I'm stoked. I know you're gonna be
                                        9:08:04     busy with production but if you get a chance,
    To: +15044951552 Ronnie             AM(UTC-4)   crunch the numbers on that formula I sent you
                                                    and shoot me the numbers on your fat burner.
                                                    I'll call you later to touch base but we have a
                                                    bunch of products to grind out so I wanna press
                                                    hard and get on it.

    From: +15044951552 Ronnie           8/4/2015    Yep. We will have it before 1030. We will ship
                                        8:55:03     Wednesday.
    To: +18583820137 Brian Mohr         AM(UTC-4)
    From: +15044951552 Ronnie           8/4/2015    K bro. Thanks
                                        8:51:29
    To: +12034159411 Chris-supplement   AM(UTC-4)
    City
    From: +12034159411 Chris-           8/4/2015    Ahh man good luck no worries!
    supplement City                     8:51:02
                                        AM(UTC-4)
    To: +15044951552 Ronnie
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    From: +15044951552 Ronnie             8/4/2015    I'll checking on it. I have a procedure this
                                          8:50:04     morning. I have a cyst that ended up being
    To: +12034159411 Chris-supplement     AM(UTC-4)   cancer. It's a form of skin cancer. They are
    City                                              removing it any minute now.. I might not be
                                                      available for a few hrs but I'll get you the
                                                      tracking.
    From: +15044951552 Ronnie             8/4/2015    I thought he did. I'll call fedex
                                          8:42:44
    To: +15615783517 Matt Mosier          AM(UTC-4)
    From: +12034159411 Chris-             8/4/2015    Thanks buddy
    supplement City                       8:41:17
                                          AM(UTC-4)
    To: +15044951552 Ronnie
    From: +15615783517 Matt Mosier        8/4/2015    He said he dropped it off
                                          8:41:16
    To: +15044951552 Ronnie               AM(UTC-4)
    From: +15615783517 Matt Mosier        8/4/2015    I believe Matt took it
                                          8:20:15
    To: +15044951552 Ronnie               AM(UTC-4)
    From: +15044951552 Ronnie             8/4/2015    Didn't y'all drop something off to FedEx Friday. I
                                          8:19:24     can't find a record of it being shipped
    To: +15615783517 Matt Mosier          AM(UTC-4)
    From: +15044951552 Ronnie             8/4/2015    K. Give me a min to find it
                                          8:00:51
    To: +12034159411 Chris-supplement     AM(UTC-4)
    City
    From: +12034159411 Chris-             8/4/2015    Hey Joey last time I bother you promise but can
    supplement City                       7:53:27     I get tracking on the order please
                                          AM(UTC-4)
    To: +15044951552 Ronnie
    From: +15044951552 Ronnie             8/4/2015    I will bud. Thanks for texting me
                                          7:52:06
    To: +17548028072 J R - Blackstone     AM(UTC-4)
    From: +17548028072 J R - Blackstone   8/4/2015    Call me when you get out buddy
                                          7:49:43
    To: +15044951552 Ronnie               AM(UTC-4)
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    From: +19543030595 Juan       12/21/2016   I think he did most of it. The auger is half full
                                  5:16:18      and i dont se anymore powder anywhere. I can
                                  PM(UTC-5)    mix another 100 in the morning.
    To: +19543030595 Juan         12/21/2016   Matt Rossi wants 300 alpha instead on 200.
                                  5:14:16      Might have to mix some more up. Did Mosier
                                  PM(UTC-5)    finish capping it today by the way.
    From: 242733                  12/21/2016   Fr:Chase Online. If you did not request this
                                  4:14:04      code, call us immediately at 1-866-355-3744.
                                  PM(UTC-5)    This code is for online use only for the next 10
                                               minutes. We will neve
    From: 242733                  12/21/2016   Fr:Chase Online
                                  4:14:03      Identification Code:83334082
                                  PM(UTC-5)    Enter online at prompt or in password field at
                                               logon w/in 10 minutes
    From: 72524                   12/21/2016   DHL EXPRESS 1094599984 from CATHERINE
                                  7:12:02      HUANG is scheduled for delivery Dec 27 2016.
                                  AM(UTC-5)    Signature is required. Manage delivery at
                                               https://delivery.dhl.com/US/OlZBGa Reply END
                                               to stop msgs.
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    8    Up top

                                     Up top
                                     1)25" pc 1 flat cap
                                     1 -6" pc
                                     1 pc metal and 1 cap
                                     1-23 5/8" blanket 5" width
                                     Bottom
                                     1-26 3/4
                                     1-8" pc
                                     1-11" pc
                                     1-37 1/4" pc
                                     2-blAnkets 23 5/8" x 5"
                                     4 caps
                                     1- flat cap


    9    94"x 15 1/2

                                     94"x 15 1/2
                                     78"x26"




    10   Battery 12volt 14ah yuasa

                                     Battery 12volt 14ah yuasa
                                     Ytx16-bs

    11   Betty's #

                                     Betty's #

    12   Bass harvest rates-2012     Bass harvest rates-
                                     20124/28- 6 fish=10pounds
                                     5/4-9 fish=10ponds
                                     5/5-1 fish= 2 pounds
    13   Policy #                    Policy #F2097730
                                     866-472-3326

    14   Anthony                     AnthonyDNA wa geuarray of
                                     DDS on 6/11/2010
                                     Resultsyojgoollm
                                     - loss of copy number on the
                                     2p16.3 chromosome which
                                     partially overlaps the
                                     NRXN1 gene(neurexin 1)
                                     Disruption of this gene has
                                     been associated with autism
                                     spectrum dis order.
    15   Safeco                      Safeco866-472-3326
                                     Policy # f2097730
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    16   Paws                         Paws- aventrella159878

    17   Bills                        Bills1. GE money- $96
                                      2. AT&T - $160
                                      3. Lafayette- $120
                                      4. Jack-130
                                      5. Spectrum- $78
                                      6. Ebr credit union- $435
                                      7. Safeco-$196
                                      8.demco-$160


    18   Doug@PAFdistrubution.com     Doug@PAFdistrubution.com

    19   Make sure to check and see   Make sure to check and see      $2500. Check on order for
         if Tim has been charged a    if Tim has been charged a       seth to make sure it was
         second time of…              second time of $2500.           shipped.
                                      Check on order for seth to
                                      make sure it was shipped.
    20   Sarms-Price as follows       Sarms-Price as follows          Ostarine -at usd2000/kg

                                      Ostarine -at usd2000/kg
                                      Gw-at usd3500/kg
                                      Mk677-at usd12000/kg
                                      Sr9009-at usd13000/Kg
                                      Rad140-at usd14000/kg
                                      S4-at usd2200/kg
                                      Yk11-at usd20000/kg
                                      Lgd4033-at usd7000/kg
    21   11/23                        11/23                           1.Call Renato
                                       1.Call Renato
                                       2.1Finish quote for Seth on
                                      pre
                                      Order powders for
                                      condemned labz
                                      Order raws for muscle Rage
                                      NDA for Luke
                                      Check on CB products
                                      Salt armour label- send to qt
                                      label
                                      Call Karan-cb product and
                                      conquer labs
                                       Call Jeremy
    22   Amino                        Amino                           Ph- 250mg and Methionine
                                      Ph- 250mg and Methionine -      - 500mgq- 250mg and
                                      500mgq- 250mg and               Methionine - 500mg? ?
                                      Methionine - 500mg? ?
    23   Things to do:                Things to do:                   Estimate for Landon.
                                      Estimate for Landon.
                                      Send Chris product
                                      descriptions and pics
                                      Collect money Monday.
                                      Brian- natural body estimate
    24   New Note
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    25   Digital marketing- Facebook   Digital marketing- Facebook     Dynamic marketing
                                       Dynamic marketing
                                       Retargeting campaign
                                       3.CTA - shop now or learn
                                       more
    26   5htp - $150/ kg               5htp - $150/ kg

    27   Adapter for air compressor.   Adapter for air compressor.

    28   Matt.                         Matt.                           Here is a list of products to
                                       Here is a list of products to   work on tomorrow.
                                       work on tomorrow.
                                       1. PctV-400units (mix this
                                       first)
                                       Arimistane -720 grams of
                                       arimistane
                                       NAC-3 kilos
                                       Saw palmetto-3.84 kilos
                                       Tribulus terrestris - 6 kilos
                                       Let me know what we don't
                                       have in stock. Add rice flour
                                       to replace whatever. We
                                       need these done today
                                       2. finish bsl alpha max
                                       3. A. Need to finish 250 Lgd.
                                       They are upstairs. Amber
                                       150cc bottle red tops. (Make
                                       the capsules match the
                                       capsules of the bottles that
                                       are finished. I think we
                                       need less than 20 Lgd
                                       Math for 20 Lgd
                                       9 grams Lgd
                                       711 grams of rice flour This
                                       is the math for one of the
                                       profillers.
                                           3B. Need to finish 250
                                       ostarine. Most are finished
                                       upstairs. Need 20 or so to
                                       finish. -amber 150 cc bottles
                                       red tops
                                       Math for ostarine
                                       Profillers
                                       18 grams of ostarine
                                       702grams of rice flour -
                                            3C. 350 arimistane- (
                                       miix this right after pct
                                       v)amber 150cc bottle Amber
                                       / red tops /capsule can be
                                       whatever color. size zero
                                       We have in stock. Here is
                                       the math for 365 units in
                                       profillers
                                       723 grams of arimistane
                                       8.04 kilos of rice flour
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                                   4. Eradicate- once you finish
                                   job numbers 1-3 go to
                                   number 4
                                   Here is the math
                                   Semi.
                                   750 grams of arimistane
                                   21.8 kilos of rice flour
                                   500 units of bsl eradicate/
                                   black capsules
                                   Profillers-
                                   750 grams of arimistane
                                   17. 3 kilos of rice flour
                                   500 units of bsl eradicate
                                   Clear bottle 150cc/ black
                                   tops , black capsules




    29   $5.70 double tap- recon   $5.70 double tap- recon         $4.90 pct
                                   $4.90 pct
                                   $4.20 pct
    30   Outlier fatburner         Outlier fatburner               Acetyl l carnitine-1.5 grams
                                   Acetyl l carnitine-1.5 grams
                                   DMAA -75mg
                                   Garcinia Canbogia -500mg
                                   L tyrosine
                                   Green tea extract
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    31   12-31-15                  12-31-15                      Supplement city - Chris
                                   Supplement city - Chris       invoice
                                   invoice
                                   Dhillon - send 100 dmz at
                                   $20 each
                                   Pay rent
                                   Pay truck note
                                   Get with John on labels for
                                   Outlier Nutrition
                                   Send Brian a new invoice
                                   Get with Prinova on flavors
                                   and dyes.
                                   Order raws for powders
                                   Rice flour
                                   Get containers , lids and
                                   labels for new Blackstone
                                   product
                                   Email Landon about Quote
                                   Get with John on private
                                   label products
                                   Get with Ashley on black
                                   bottles, clear bottles and
                                   tops.
    32   Sarm order xtreme suppz   Sarm order xtreme suppz       450 g ostarine
                                   450 g ostarine
                                   135g of lgd
                                   150g of mk-677
    33   BSL dust                  BSL dust                      Beta alanine-3
                                   Beta alanine-3
    34   Gold Coast flavors in     Gold Coast flavors in
         California.               California.
    35   Cobra 6 extreme           Cobra 6 extreme               Ingredients-675mg
                                   Ingredients-675mg
                                   caffeine anhydrous
                                   Achyranthes Aspera
                                     3
                                     4. Theobromine
                                     5. Dendrobium
                                     6. Advantages Z TM
                                     7. Bioperine
                                     8. Yohimbine
    36   Royal Palm med spa        Royal Palm med spa
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    37   Run everything labs   Run everything labs           DTE fatburner( 90 ct Size
                               DTE fatburner( 90 ct Size     OO
                               OO
                               Serving size3 capsule (30
                               servings per bottle
                               -Acetyl l carnitine-1g /30g
                               per bottle
                               Naringin-625mg/18.75g per
                               bottle
                               Coleus Forskolin-
                               250mg/7.5g per bottle
                               Caffeine Anhydrous-
                               250mg/7.5g per bottle
                               Arcolean(Arcoline
                               Hydrobromide-125mg/3.75g
                               per bottle
                               (Cymbidium Georingii
                               Extract)
                               Hesperidin-100mg/3G per
                               bottle/ 3
                               Synephrine HCl -50mg/1.5 g
                               per bottle/1.5kg
                               Rawolscine-3mg/90mg per
                               bottle-90g per 1000units
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                                                                  indictment in the Wheat case also alleges substantive counts
                                                                  for wire fraud, money laundering, introduction of misbranded
                   2019 WL 7906186
                                                                  drugs into interstate commerce, and the manufacture and
     Only the Westlaw citation is currently available.
                                                                  distribution of controlled substances. Defendant, a long-time
              United States District Court,
                                                                  graphic designer at Hi-Tech, is not charged in the Wheat case,
             N.D. Georgia, Atlanta Division.
                                                                  but apparently is an unindicted co-conspirator in connection
              UNITED STATES of America                            with the wire fraud offenses alleged in that case.
                         v.
            Choat SOVIRAVONG, Defendant.
                                                                                 I. MOTION FOR JOINDER
       CRIMINAL ACTION NO. 1:19-cr-146-AT-CMS
                          |                                       In his single-page motion for joinder, Defendant asks to have
                 Signed 12/02/2019                                his case tried jointly with the Wheat case, pursuant to Federal
                                                                  Rule of Criminal Procedure 8. [Doc. 14 at 1]. He argues,
 Attorneys and Law Firms
                                                                  with no citation to caselaw and only a passing reference
                                                                  to the rule, that there should be a single trial because the
 Cassandra Juliet Schansman, Nathan Parker Kitchens, Office
                                                                  two cases involve many of the same facts, issues, witnesses,
 of the United States Attorney, Atlanta, GA, for United States
                                                                  and exhibits. [Id.]. The Government responds that because
 of America.
                                                                  Defendant has not argued or shown that he is charged with
                                                                  participating in the same series of acts or transactions as the
                                                                  defendants in the Wheat case, joinder would not be proper.
          REPORT AND RECOMMENDATION
                                                                  [Doc. 21]. Defendant did not file a reply brief.
 CATHERINE M. SALINAS,                  UNITED        STATES
 MAGISTRATE JUDGE                                                 This is an unusual motion. Typically, the issue of Rule 8
                                                                  joinder is raised by a defendant seeking to sever his case
  *1 This matter is before the Court on two motions filed by      from that of his co-defendants. In those circumstances, the
 the defendant in this case: Motion for Joinder [Doc. 14] and     Court is tasked with determining whether the Government has
 Motion to Suppress Seized Electronic Equipment and Emails        properly joined the cases together. Here, on the other hand,
 (the “Motion to Suppress”) [Doc. 23]. For the reasons that       the Government has elected to charge Defendant separately
 follow, I recommend that both motions be denied.                 from those charged in the Wheat case, and Defendant seeks to
                                                                  compel the Government to try the two cases at the same time.
 On April 16, 2019, a federal grand jury in the Northern          The absence of legal authority for this particular request is
 District of Georgia returned a four-count indictment against     telling.
 Defendant Choat Soviravong (“Defendant”) alleging that on
 June 24, 2014, he made four false statements during an           As noted above, Defendant cites only generally to Rule
 interview with agents from the Food and Drug Administration      8 of the Federal Rules of Criminal Procedure, which is
 (“FDA”) and the Internal Revenue Service (“IRS”), in             titled “Joinder of Offenses or Defendants.” Subsection (b)
 violation of 18 U.S.C. § 1001(a)(2). [Doc. 1]. According to      addresses joinder of defendants in the same indictment. 1
 the indictment, the statements allegedly concerned the design    That subsection provides:
 and preparation of certain documents related to the regulation
 of dietary supplements, “GMP certificates” and “Certificates
 of Free Sale.” [Id.].                                                         *2 (b) Joinder of Defendants. The
                                                                              indictment or information may charge
 The instant case is related to another case pending in this                  2 or more defendants if they are
 district against Jared Wheat, John Brandon Schopp, and                       alleged to have participated in the
 Hi-Tech Pharmaceuticals, Inc. (“Hi-Tech”), United States v.                  same act or transaction, or in the
 Wheat, et al., No. 17-cr-229-AT-CMS (the “Wheat case”).                      same series of acts or transactions,
 The eighteen-count indictment in the Wheat case alleges                      constituting an offense or offenses.
 four distinct conspiracies over a six-year time span. The                                                      9:19-80030
                                                                              The defendants may be charged in one
                                                                                                                GOVERNMENT
                                                                                                                  EXHIBIT
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              or more counts together or separately.                  In his three-page motion to suppress, Defendant moves to
              All defendants need not be charged in                   suppress all evidence obtained from the following search
              each count.                                             warrants, arguing that they were unsupported by probable
                                                                      cause and were overbroad:

                                                                        • A warrant dated October 23, 2014 authorizing
 FED. R. CRIM. P. 8(b). Nothing in this rule requires the
                                                                          the search of Defendant's yahoo email account
 Government to charge individuals in a single indictment, even
                                                                          (csdesign22@yahoo.com), signed by Alan J. Baverman,
 if the crimes overlap in some ways. On the contrary, the
                                                                          a United States Magistrate Judge for the Northern
 rule provides that the Government may charge defendants
                                                                          District of Georgia (the “Yahoo Warrant”) [Doc. 23-3].
 separately.
                                                                        • Six warrants dated September 28, 2017 authorizing
 The Government argues that joinder (which did not occur)                 the search of six Hi-Tech business locations, signed by
 would have been improper because the connection between                  Russell G. Vineyard, a United States Magistrate Judge
 the various defendants is limited to a few individuals who               for the Northern District of Georgia (the “Premises
 are alleged to have committed separate acts that involve them
                                                                           Warrants”) [Docs. 23-1, 25-1]. 2
 in separate offenses with no common aim. See          United
 States v. Weaver, 905 F.2d 1466, 1477 (11th Cir. 1990).               *3 [Doc. 23]. 3 In his brief, Defendant does not refer to
 Under such circumstances, the requisite substantial identity         a single fact in any of the affidavits, and he makes only
 of facts or participants required by the rule is not present.        generalized assertions without any citation to the record or
 See id. Similarly, joinder is not proper “if different facts         any analysis. He fails to identify what he believes is lacking
 and circumstances must be established to support the alleged         in terms of probable cause and does not explain why the
 violations.” Id.                                                     warrants might be considered overbroad. Nevertheless, I
                                                                      have reviewed the affidavits supporting the various warrants
 I agree with the Government that Defendant has not shown a           with an eye toward the supposed problems that Defendant has
 substantial identity of facts or participants necessary to satisfy   identified.
 Rule 8(b). The acts that the Government alleges Defendant
 committed involve wholly separate acts from those charged
 against the three defendants in the Wheat case. See United           A. The Yahoo Warrant
 States v. Yearty, No. 1:08CR40-SPM, 2009 WL 1343904,                 The Yahoo Warrant was supported by an application and
 at *1–2 (N.D. Fla. May 8, 2009) (finding misjoinder and              affidavit executed on October 23, 2014 by Jacqueline
 ordering separate trials for a defendant charged with false          Reynolds, a Special Agent with the criminal investigations
 statements and other defendants charged with bribery-related         section of the IRS. [Doc. 23-3 (“Reynolds Aff.”) ]. According
 crimes). Moreover, there is no allegation that the defendants        to the affidavit, Hi-Tech is a Georgia-based company that
 in the Wheat case were aware of Defendant's allegedly false          manufactures dietary supplements under the Hi-Tech brand
 statements to investigators in 2014 or that there was a plan         name as well as under private label names. [Id. ¶ 5]. As a
 between Defendant and the defendants in the Wheat case               manufacturer of dietary supplements, Hi-Tech is required by
 for Defendant to lie. Although it is true that Defendant             federal law to comply with Good Manufacturing Practices
 worked for Hi-Tech and that there may be some overlap in             (“GMPs”), and some customers of Hi-Tech require proof
 witnesses, Defendant has not shown that he is alleged to have        of Hi-Tech's compliance with GMPs in order to conduct
 participated in the same acts or transactions as the defendants      business. [Id. ¶ 6]. Evidence of a firm's compliance with
 in the Wheat case. I will not compel the Government to try           GMPs can be accomplished by providing a document called a
 these cases together in the absence of any legal authority           GMP Certification, which must be issued by an independent
 requiring it. I therefore recommend that Defendant's motion          and qualified firm. [Id.].
 for joinder be denied.
                                                                      The affidavit states that in May 2013, federal agents obtained
                                                                      a search warrant for an email account associated with
                                                                      Jared Wheat, the sole officer of Hi-Tech. [Reynolds Aff.
                 II. MOTION TO SUPPRESS                               ¶ 7]. According to Special Agent Reynolds, the email
                                                                      communications obtained from that search warrant included


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 those sent and/or received by Defendant, through the email
 address csdesign22@yahoo.com (the “Target Account”), that           b. Records relating to who created, used, or communicated
 show that Mr. Wheat may have been directing Defendant to            with the account or identifier, including records about their
 prepare false and fraudulent documents related to Hi-Tech's         identities and whereabouts.
 compliance with GMP regulations. [Id.].
                                                                   [Id. at 15].

 The affidavit provided several specific examples of such
                                                                   Probable cause to support a search warrant exists when
 communications, including emails tending to show that
                                                                   the totality of the circumstances allows a conclusion that
 Defendant, a graphic designer, was preparing false documents
                                                                   there is a fair probability of finding contraband or evidence
 regarding Hi-Tech's compliance with GMP regulations by
                                                                   at a particular location. See United States v. Brundidge,
 creating false GMP Certification forms [id. ¶ 8] and by
                                                                   170 F.3d 1350, 1352 (11th Cir. 1999). The search warrant
 fraudulently modifying documents relating to GMP audits [id.
                                                                   affidavit must “state facts sufficient to justify a conclusion
 ¶¶ 9–12]. According to Special Agent Reynolds, Defendant
                                                                   that evidence or contraband will probably be found at the
 designed product labels, product boxes, and marketing
 materials as part of his job at Hi-Tech, and investigators        premises to be searched.” United States v. Martin, 297 F.3d
 believed that this experience gave him both the background        1308, 1314 (11th Cir. 2002) (citation omitted). “[T]he task of
 and expertise to create the false forms and to fraudulently       a reviewing court is not to conduct a de novo determination
 modify documents. [Id. ¶ 13]. Additionally, Defendant             of probable cause, but only to determine whether there is
 apparently admitted to agents that he used the Target Account     substantial evidence in the record supporting the magistrate
 to conduct business activities for Hi-Tech and to communicate     judge's decision to issue the warrant.” United States v.
 with Jared Wheat for work-related correspondence. [Id. ¶          Bushay, 859 F. Supp. 2d 1335, 1379 (N.D. Ga. 2012) (citing
 14]. Special Agent Reynolds stated that in her opinion, there        Massachusetts v. Upton, 466 U.S. 727, 728 (1984)).
 was probable cause to believe that the Target Account would       Finally, courts are not to “interpret supporting affidavits in a
 contain evidence of mail fraud, wire fraud, false statements,     hypertechnical manner; rather, a realistic and commonsense
 and conspiracy. [Id. ¶ 4].                                        approach should be employed so as to encourage recourse
                                                                   to the warrant process and to promote the high level of
  *4 The Yahoo Warrant described the particular things             deference traditionally given to 9 magistrates in their probable
 to be seized in two parts. The first part, Section I, is titled
 “Information to be disclosed by YAHOO.” That information          cause determinations.” Id. (citing     United States v. Miller,
 included the content of all emails sent from the Target           24 F.3d 1357, 1361 (11th Cir. 1994)); see also    United
 Account and stored in that account, information regarding         States v. Robinson, 62 F.3d 1325, 1331 (11th Cir. 1995)
 the identification of the account, other information stored by    (requiring the reviewer to afford “great deference” to a
 any individual using the account, and all records pertaining to   judicial determination of probable cause).
 communications between Yahoo and any person regarding the
 account. [Doc. 23-3 at 14]. Then, in the second part, the Yahoo   The only specific argument that Defendant makes regarding
 Warrant narrowed the information that the Government was          probable cause is that the Yahoo Warrant was based on
 authorized to seize, as follows:                                  stale information, i.e., “emails that appear to be three years
                                                                   old.” [Doc. 23 at 2]. The staleness doctrine “requires that
   II. Information to be seized by the Government
                                                                   the information supporting the government's application for
   All information described above in Section I that               a warrant must show that probable cause exists at the time
   constitutes fruits, evidence and instrumentalities of mail      the warrant issues.”   United States v. Bervaldi, 226 F.3d
   fraud, wire fraud, false statements, and conspiracy to          1256, 1264 (11th Cir. 2000). Whether information is stale
   commit any of the foregoing, including but not limited to
                                                                   is determined “on the peculiar facts of each case.”        Id.
   the following matters:
                                                                   at 1265. However, “there is no mathematical measure for
   a. Audit reports, certificates (including GMP certificates),    when freshness fades away and staleness sets in.” United
   and any other communications, representations or                States v. Lopez, 649 F.3d 1222, 1246 (11th Cir. 2011).
   documents concerning Hi-Tech's compliance with FDA              When the warrant authorizes the seizure of electronically-
   rules and regulations.                                          stored information, time becomes less significant, because the



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 evidence sought to be seized is not a tangible object easily         its servers, “staleness is not a problem”). For these reasons, I
                                                                      conclude that the affidavit in support of the Yahoo Warrant
 destroyed or removed. See id. (citing           United States v.
                                                                      provided at least a “fair probability” that evidence of mail
 Hyde, 574 F.2d 856, 865 (5th Cir. 1978)).
                                                                      fraud, wire fraud, false statements, and conspiracy would be
                                                                      found in the Target Account.
  *5 Here, the Yahoo Warrant sought emails and other digital
 information. Courts have recognized that staleness concerns
                                                                      Defendant also states, in a purely conclusory fashion, that the
 regarding “[d]igital files, particularly those stored with an
                                                                      Yahoo Warrant is overbroad. Although he does not mention
 email service provider, are qualitatively different” from those
                                                                      the United States Constitution, I assume that he is raising
 concerns associated with the search of real property, where
                                                                      a Fourth Amendment challenge. The Fourth Amendment
 the “supporting information must be timely in order to believe
                                                                      provides that “no Warrants shall issue, but upon probable
 that a fair probability exists for finding particular evidence
                                                                      cause, supported by Oath or affirmation, and particularly
 at a particular place.” See United States v. Khateeb, No.
                                                                      describing the place to be searched, and the persons or things
 8:14-cr-185-T-23MAP, 2015 WL 6438755, at *4 (M.D. Fla.
                                                                      to be seized.” U.S. CONST. AMEND. IV. Thus, the Fourth
 Oct. 21, 2015) (citing     United States v. Bervaldi, 226 F.3d       Amendment requires that a warrant particularly describe
 1256, 1264–65 (11th Cir. 2000)). Accordingly, when seeking           both (1) the place to be searched and (2) the persons or things
 authorization to search digital information, the passage of          to be seized. Id.; United States v. Travers, 233 F.3d 1327,
 months or even years will not automatically render supporting        1329 (11th Cir. 2000) (“A warrant which fails to sufficiently
 information in a warrant application “stale” because such            particularize the place to be searched or the things to be
 evidence can reasonably be stored by email service providers         seized is unconstitutionally over broad.”); see also FED. R.
 on their servers for an indefinite period of time. See id.           CRIM. P. 41(e)(2)(A) (explaining that “the warrant must
                                                                      identify the person or property to be searched, identify any
 The suspicious emails and attachments from Mr. Wheat's               person or property to be seized, and designate the magistrate
 email account that led investigators to Defendant's email            judge to whom it must be returned”).
 account were sent in 2011 and 2012, long before Special
 Agent Reynolds presented her affidavit to the judge in                *6 The Yahoo Warrant's description of the place to be
 October 2014. The information was not stale, however,                searched—the email account and information associated
 because there existed more than a fair probability that              with it stored at Yahoo's premises—was sufficiently
 evidence of illegal conduct still remained on the Yahoo              particularized. With regard to the items or information
 servers in 2014 when the Yahoo Warrant was signed.                   to be seized, the Yahoo Warrant provided for the
 See Khateeb, 2015 WL 6438755, at *4 (rejecting staleness             seizure of information that “constitute[d] fruits, evidence
 argument for an email search warrant based on conduct                and instrumentalities” of violations of the mail and wire
 that occurred more than two years before the warrant was             fraud statutes, and conspiracy, including information that
 issued, stating that “two years is hardly relevant in the            related to (a) audit reports, certificates, and any other
 digital age” given that such information is normally stored          communications, representations, or documents concerning
 on servers indefinitely). Indeed, Special Agent Reynolds             Hi-Tech's compliance with FDA rules and regulations; and
 stated that in her experience, unless the email sender or            (b) records relating to who created, used, or communicated
 receiver specifically deleted the email from the server, the         with the account or identifier, including records about their
 email messages typically remain on the systems indefinitely.         identities and whereabouts. [Doc. 23-3 at 15]. By explicitly
 [Reynolds Aff. ¶ 18]. In cases involving digital media,              limiting the scope of what may be searched and seized
 courts have found that much longer periods of time than the          to evidence of the crimes under investigation, the Yahoo
 affidavits at issue in this case did not render information stale.   Warrant was sufficiently particular to enable the searchers
 See, e.g., United States v. McBurnette, 382 F. App'x 813, 815        to reasonably ascertain and identify the documents and
 (11th Cir. 2010) (in pornography context, finding a period of
                                                                      information authorized to be seized. See       United States v.
 almost two years did not render information stale); United
                                                                      Lee, No. 1:14-cr-227-TCB-2, 2015 WL 5667102, at *3 (N.D.
 States v. Wang, No. 5:12-cr-00581EJD, 2014 WL 794203, at
                                                                      Ga. Sept. 25, 2015) (concluding that a search warrant similar
 *6 (N.D. Cal. Feb. 26, 2014) (stating that where the evidence
                                                                      to the one in this case was sufficiently particular and stating,
 sought is the kind that is preserved for long periods of time,
                                                                      “a warrant that requires disclosure of the entire contents of an
 such as email accounts maintained by Google indefinitely on
                                                                      email account and then describes a subset of that information


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 that will be subject to seizure is reasonable”); United States   (“Kriplean Aff.”) ¶ 3]. Special Agent Kriplean explained in
 v. Harvey, No. 1:15-cr-53-TWTRGV, 2015 WL 9685908, at            his affidavit that the FDA is the federal agency responsible
 *13 (N.D. Ga. Nov. 30, 2015), report and recommendation          for protecting the health and safety of the American public
 adopted by, 2016 WL 109984, at *1 (N.D. Ga. Jan. 8, 2016)        by enforcing the federal Food, Drug, and Cosmetic Act,
 (concluding that a search warrant for a cell phone was           21 U.S.C. §§ 301-399f (“FDCA”). [Id. ¶ 9]. One of the
 sufficiently particularized where the property to be seized      FDA's roles is to ensure that drugs are safe and effective
 was limited to evidence of the crimes being investigated).       for their intended uses and that drugs and foods bear
 The Yahoo Warrant, therefore, was not a general warrant          labeling containing true and accurate information. [Id.]. The
 because it described with sufficient particularity not only      FDA's responsibilities under the FDCA include regulating
 the information to be disclosed from the Target Account, but     the manufacturing, labeling, and distribution of all drugs and
 also the specific evidence that the Government was allowed       foods shipped or received in interstate commerce. [Id.].
 to seize from within that body of information. See     Lee,
                                                                  In his affidavit, Special Agent Kriplean stated that in
 2015 WL 5667102, at *10. For the reasons stated, I conclude
                                                                  September 2016, federal law enforcement agents conducted
 that the Yahoo Warrant satisfied the Fourth Amendment's
                                                                  undercover purchases from Hi-Tech of certain products that
 particularity requirement.
                                                                  were marketed for sale as testosterone and prohormone
                                                                  supplements. [Kriplean Aff. ¶¶ 20–21]. He stated that
 B. The Premises Warrants                                         based on his training and experience, he believed that
 The entirety of Defendant's argument in support of his motion    such supplements “often contain non-dietary ingredients
 to suppress the evidence seized pursuant to the Premises         or Schedule III controlled substances, namely anabolic
 Warrants, is as follows:                                         steroids.” [Id. ¶ 20]. Upon receipt of the products, the law
                                                                  enforcement officers submitted them for chemical analysis to
                                                                  the FDA's Forensic Chemistry Center. [Id. ¶ 22]. According
             Defendant also objects to the                        to Special Agent Kriplean, the testing revealed that five of
             warrant(s) executed at Hi-Tech on                    the products—1-AD, 1-Testosterone, Androdiol, Equibolin,
             October 4, 2017 for many of the                      and Superdrol—contained Schedule III anabolic steroids, but
             same reasons enumerated above.                       the labeling did not reflect that the products contained these
             Again the warrants were non                          Schedule III anabolic steroids. [Id. ¶¶ 22–23]. According
             specific, overbroad, and lacking in                  to Special Agent Kriplean, this false or misleading labeling
             probable cause. The materials seized                 rendered those products misbranded under the FDCA. [Id.].
             (essentially every hard drive and
             computer in the business) was seized                  *7 Special Agent Kriplean then stated that in early August
             [sic].”                                              2017, he reviewed Hi-Tech's website and confirmed that Hi-
                                                                  Tech offered for sale numerous testosterone and prohormone
                                                                  supplements, including the five products that had previously
                                                                  tested positive for anabolic steroids. [Kriplean Aff. ¶ 20].
 [Doc. 23 at 2]. I will begin my analysis by reviewing the
                                                                  At the agent's direction, a cooperating source emailed a
 facts that the agents provided in support of the Premises
                                                                  regional sales manager for Hi-Tech, inquiring about Hi-Tech's
 Warrants to determine whether the warrants were supported
                                                                  prohormones. [Id. ¶ 24]. The Hi-Tech employee responded
 by probable cause. Then I will turn to the question of whether
                                                                  the next day, stating that “all [of Hi-Tech's prohormones]
 the warrants are overbroad.
                                                                  are compliant and DHEA compounds that bypass the liver
                                                                  so they are not toxic.” [Id.]. Thereafter, on August 15,
 The six Premises Warrants were all supported by a
                                                                  2017, the cooperating source placed an order with the Hi-
 single application and affidavit executed by Brian Kriplean,
                                                                  Tech regional sales manager for five bottles each of the
 a Special Agent with the FDA's Office of Criminal
                                                                  prohormone products that had previously tested positive for
 Investigations. In his affidavit, Special Agent Kriplean
                                                                  anabolic steroids. [Id.].
 averred that there was probable cause to believe that Hi-Tech
 was manufacturing, marketing, and distributing misbranded
                                                                  On August 21, 2017, the cooperating source received the
 foods and/or drugs, some of which contain anabolic steroids,
                                                                  products from Hi-Tech. [Kriplean Aff. ¶ 25]. Special Agent
 which is a Schedule III controlled substance. [Doc. 25-1


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 Kriplean thereafter took custody of the still-sealed package,      170 F.3d 1350, 1352 (11th Cir. 1999). It is evident that
 and he reviewed the respective labels of the products              in deciding whether to sign the Premises Warrants, Judge
 received, confirming that they were consistent with the            Vineyard followed the law, used a commonsense, practical
 respective label information as the products purchased and         approach, and correctly found that there was probable cause
 received in September 2016, with the only difference being         to believe that the requested searches would yield evidence of
 the lot numbers. [Id.]. After the products were delivered,         violations of law.
 Special Agent Kriplean submitted samples of the products
 for chemical analysis. [Id. ¶ 26]. The testing revealed that        *8 Defendant's assertion that the Premises Warrants were
 with respect to four of the products—1-AD, Androdiol,              overbroad is without factual or legal support. The scope
 Equibolin, and Superdrol—each contained Schedule III               of the things to be seized is explicitly limited in multiple
 anabolic steroids. [Id.]. And, like the earlier-purchased          ways. First, the opening phrase of Attachment B to the
 products, the labeling did not list the Schedule III anabolic      warrants operates as a limitation, authorizing the seizure
 steroids as ingredients. [Id. ¶ 27].                               of “[e]vidence, fruits, and instrumentalities” of violations of
                                                                    federal law including violations of    Title 21, United States
 The six Premises Warrants were all based on the same
                                                                    Code, Sections 331 (FDCA violations) and 841(a) (controlled
 affidavit, which described the Hi-Tech business locations to
                                                                    substance violations). Second, many of the categories contain
 be searched, and provided specific facts tying each location
                                                                    additional limiting provisions. For example, Category 7,
 to the investigation. [Kriplean Aff. ¶¶ 29–40]. The warrants
                                                                    which authorizes the seizure of business records, includes
 authorized law enforcement to search the six locations
                                                                    two additional limitations. It provides for the seizure only
 for “[e]vidence, fruits, and instrumentalities of violations
                                                                    of those business records “pertaining to the illegal purchase,
 of federal law, including       21 U.S.C. § 331 [relating to       possession, and/or unauthorized distribution of controlled
 prohibited acts with respect to adulterated or misbranded food     substances and introduction into interstate commerce any
                                                                    misbranded and/or adulterated foods and/or drugs.” [Doc.
 or drugs] and      21 U.S.C. § 841(a)(1) [making it a crime
                                                                    23-1 at 5–6]. In addition to that phrase, the business
 to manufacture, distribute, dispense, and possess controlled
                                                                    records category also provides: “The documents to be seized
 substances].” [Doc. 23-1 at 4]. The warrant then went on to
                                                                    include those relating to the brokering, ordering, producing,
 describe eleven categories of what such “evidence, fruits, and
                                                                    purchasing, shipping, selling and distributing of misbranded
 instrumentalities” might be, including business records and
                                                                    and/or adulterated foods and/or drugs, including but not
 computers. [Id. at 4–10].
                                                                    limited to....” [Id.].
 With respect to any challenge to probable cause, it is evident
                                                                    While it is true that the Premises Warrants are broadly
 from the face of the application that Special Agent Kriplean's
                                                                    worded and encompass many items and documents, warrants
 affidavit presented probable cause to believe that evidence of
                                                                    of such breadth have been upheld, especially in white-collar
 the specified crimes would be found at the various Hi-Tech
                                                                    crime cases where a “paper puzzle” must be assembled “from
 locations. The evidence presented in the affidavit established
                                                                    a large number of seemingly innocuous pieces of individual
 probable cause to believe that Defendants manufactured,
 labeled, marked, and distributed at least four different           evidence.”      United States v. Wuagneux, 683 F.2d 1343,
 supplements that contained non-dietary and/or controlled           1349 (11th Cir. 1982). The investigation here had revealed
 ingredients that were not properly declared on the label, and      that Hi-Tech was actively marketing and selling to the public
 that this practice occurred over a significant period of time.     at least four misbranded products containing a Schedule III
 While it was not a certainty that such evidence would be           substance for at least a year, and many items and documents
 discovered, it was probable that it would, and that is all that    could be relevant to (and evidence of) such conduct. It is
 the law requires. The facts presented regarding the test results   reasonable for the Government to be interested in determining
 from the two purchases of the various products supported           or verifying how pervasive the misconduct was and the level
 the magistrate judge's decision to issue the warrants because      of danger to the public.
 the totality of the circumstances allow a conclusion that
 there is a fair probability of finding other adulterated and/      By explicitly limiting the scope of what could be seized
 or misbranded products and/or contraband or evidence of the        to evidence of the crimes under investigation, the Premises
 crimes noted in the affidavit. See United States v. Brundidge,     Warrants were sufficiently particular to enable the



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                                                                        Wright, 438 F. App'x 741, 745–46 (11th Cir. 2011) (per
 searchers to reasonably ascertain and identify the documents
                                                                        curiam) (unpublished) (holding that the items to be seized
 and information authorized to be seized. See United States
                                                                        were described with sufficient particularity where the items
 v. Wilson, No. 4:12-cr-0023-RLV-WEJ, 2012 WL 7992597,
                                                                        were limited by the specific crimes under investigation and
 at *15 (N.D. Ga. Nov. 28, 2012) (concluding that a search
                                                                        stating “[b]ecause the descriptions in the warrants refer to
 warrant was written with sufficient particularity because
                                                                        items that are evidence of a violation of certain statutes
 the items listed on the warrants were qualified by phrases
                                                                        relating to the sale of controlled substances, the items were
 that emphasized that the items sought were those related
                                                                        described with sufficient particularity to allow Wright, a
 to the crime under investigation). Due to the limitation on
                                                                        seasoned law enforcement officer, to identify the things to be
 the things to be seized to only those things connected with
                                                                        seized”).
 the crimes under investigation, there is a sufficient nexus
 that satisfies the practical realities “that enable the searcher
 to ascertain and identify things authorized to be seized.”
    United States v. Smith, 918 F.2d 1501, 1507–08 (11th Cir.                               III. CONCLUSION
 1990) (approving similar language for documents pertaining
                                                                        For the reasons stated above, I RECOMMEND that
 to narcotics trafficking).
                                                                        Defendant's Motion for Joinder [Doc. 14] and Motion to
                                                                        Suppress Seized Electronic Equipment and Emails [Doc. 23]
 Under these circumstances, and giving the appropriate “great
                                                                        be DENIED.
 deference” to Judge Vineyard's decision to issue the Premises
 Warrants, I cannot say that the warrants were overbroad
                                                                         *9 SO REPORTED AND RECOMMENDED, this 2nd
 or that any of the categories of things to be seized were not
                                                                        day of December, 2019.
 supported by probable cause. I conclude that the Premises
 Warrants provided sufficient particularity to guide the
 officers and satisfy the particularity requirements of the             All Citations
 Fourth Amendment. See           Signature Pharmacy, Inc. v.
                                                                        Slip Copy, 2019 WL 7906186




                                                            Footnotes


 1      Defendant does not indicate which portion of Rule 8 he is relying upon, but I have assumed that he is relying
        upon subsection (b). Subsection (a) of Rule 8 is titled “Joinder of Offenses” and addresses the circumstance
        when different crimes against a particular defendant may be joined in a single indictment. See FED. R.
        CRIM. P. 8(a). Defendant has not argued that there is any problem with the four counts in his case being
        tried together.
 2      The six warrants were all supported by the same, single affidavit. Defendant attached only one of the six
        warrants to his motion, and he failed to attach the affidavit. The Government filed the affidavit in connection
        with its response brief. [Doc. 25-1].
 3      In his motion to suppress, Defendant also complained about a warrant dated May 17, 2013 authorizing the
        search of Jared Wheat's AOL email account (the “AOL Warrant”). [Doc. 23-2]. At the pretrial conference,
        however, Defendant conceded that he lacks standing to challenge the AOL Warrant. The Government states
        in its response brief that it has assumed—for purposes of this motion only and without conceding the point
        —that Defendant has standing to challenge the Premises Warrants. [Doc. 25 at 4, n.2]. The Government
        does not dispute that Defendant has standing to challenge the Yahoo Warrant, which authorized the search
        of Defendant's own email account.


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                                                                defendant, and Elizabeth Kuecher was added as a defendant.
                                                                [Id.]. The Superseding Indictment charges Mesika and
                   2018 WL 2124899
                                                                Kuecher with being part of three separate conspiracies—
     Only the Westlaw citation is currently available.
                                                                one involving the manufacture, distribution, and possession
              United States District Court,
                                                                of anabolic steroids (Count One), the second involving
             N.D. Georgia, Atlanta Division.
                                                                the unlawful importation of synthetic steroid compounds
           UNITED STATES of America,                            from China and Hong Kong (Count Eight), and the third
                        v.                                      involving the operation of facilities that should have been,
   Beny MESIKA and Elizabeth Kuecher, Defendants.               but were not, registered with the United States Food
                                                                and Drug Administration (“FDA”) (Count Twelve). Both
     CRIMINAL ACTION NO. 1:16-cr-224-MHC-CMS                    Mesika and Kuecher are also charged with three counts of
                         |                                      smuggling (Counts Nine through Eleven) and four counts of
                Signed 03/30/2018                               failure to register a food facility (Counts Thirteen through
                                                                Sixteen). Additionally, Mesika is charged with three counts
 Attorneys and Law Firms                                        of distribution of controlled substances (Counts Two through
                                                                Four), three counts of introducing misbranded drugs into
 Cassandra Juliet Schansman, Kelly Kathleen Connors, Steven
                                                                interstate commerce (Counts Five through Seven), and nine
 D. Grimberg, Office of United States Attorney, Atlanta, GA,
                                                                counts of money laundering (Counts Seventeen through
 for United States of America.
                                                                Twenty-Five).
 Bruce S. Harvey, Law Office of Bruce Harvey, Kimberly
 Hargrave Cornwell, Law Office of Kimberly Cornwell,            This matter is before the Court on two motions filed by
 Atlanta, GA, Arthur W. Leach, Law Office of Arthur W.          Mesika: (1) a Motion and Amended Motion to Suppress
 Leach, Alpharetta, GA, for Defendants.                         Statements (“Statements Motion”) [Docs. 47, 61]; and (2) a
                                                                Motion to Suppress Evidence Relating to Search Warrants
 John Wesley Houser, IV, Atlanta, GA, pro se.                   (“Warrants Motion”) [Doc. 46]. After Kuecher was added as
                                                                a defendant, she adopted the Warrants Motion. [Doc. 110].


          REPORT AND RECOMMENDATION
                                                                                STATEMENTS MOTION
 CATHERINE M. SALINAS, United States Magistrate Judge
                                                                I. BACKGROUND
  *1 On June 21, 2016, a grand jury returned a twelve-
                                                                In Mesika's original Statements Motion [Doc. 47], he argues
 count indictment charging Beny Mesika and John Wesley
                                                                that on October 4, 2013, he was illegally questioned by special
 Houser, IV with being part of a conspiracy to “manufacture,
                                                                agents from the Food and Drug Administration's Office of
 distribute and dispense products labeled and marketed as
                                                                Criminal Investigations (“FDA-OCI”). He contends that the
 ‘dietary supplements’ designed to increase muscle mass and
                                                                questioning occurred while he was in custody, and therefore,
 strength, which in fact contained anabolic steroids.” [Doc.
                                                                the agents should have given him his Miranda warnings
 1, ¶¶ 1-2]. In addition to conspiracy, the indictment also
                                                                before questioning him. [Id. at 2]. Acknowledging that he was
 charged Mesika and Houser with two counts of distribution of
                                                                not in “formal custody” at the time of the interview, Mesika
 controlled substances, two counts of introducing misbranded
                                                                contends that because he was under criminal investigation
 drugs into interstate commerce, and seven counts of money
                                                                at the time, he was being served with a criminal grand
 laundering. [Id. ¶¶ 6-16].
                                                                jury subpoena, and he was questioned by the lead agents in
                                                                the investigation, “[Mesika] believed he could not simply
 On April 19, 2017, Houser pleaded guilty to being part of
                                                                walk out the door at any time.” [Id. at 5-6]. Mesika also
 a conspiracy to distribute anabolic steroids via a one-count
                                                                appears to argue that if he had answered some of the agents'
 information in Case No. 1:17-cr-134-MHC.
                                                                questions, he would have incriminated himself, and therefore,
                                                                he was entitled to Miranda warnings. [Id. at 7]. He complains
 On December 19, 2017, a grand jury returned a twenty-
                                                                further that the agents engaged in improper “psychological
 five-count superseding indictment in this case. [Doc. 85
                                                                conditioning” techniques designed to elicit incriminating
 (“Superseding Indictment”) ]. Houser was removed as a                                                         9:19-80030
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                                                                                                                EXHIBIT
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 statements. [Id. at 8]. In his motion, Mesika asserts that at     did not fully answer a question about where he was obtaining
 some point he requested an attorney, but that the agents          his product, but the agents did not press the issue. [Id. at
 continued to question him. [Id. at 8-10]. Mesika also argues      58-59]. The interview lasted about thirty minutes, and ended
 that his October 4, 2013 statement was not voluntary. [Id. at     with Mesika making a joke about the agents' car (a Hyundai
 10-11].                                                           Sonata). [Id. at 60].

  *2 Two months later, Mesika supplemented his Statements
 Motion, asserting that statements he gave during an interview        B. The October 4, 2013 Statement
 on May 16, 2013 should also be suppressed. [Doc. 61 at 1-2].      Special Agent Kriplean testified that he was part of a team that
 Again, Mesika argues that he was in custody and was not           began investigating Mesika and Houser in August 2012. [Tr.
 given Miranda warnings. [Id.]. In support of his contention       at 7-8]. According to Special Agent Kriplean, he conducted
 that he was in custody, Mesika states, “during the May 16,        an interview with Mesika on October 4, 2013 at 4301
 2013 interview, the agents confronted [him] and expressly         Pleasantdale Road, which was one of the locations where
 told him that his conduct violated [federal law] and that the     Mesika operated his dietary supplement businesses. 1 [Id.
 products are classified as misbranded.” [Id. at 4]. He also       at 8-9]. Special Agent Kriplean testified that the previous
 argues that his May 16, 2013 statement was not voluntary.         month, law enforcement had executed a search warrant in
                                                                   Texas on a supplement distribution company, and that search
 On April 28, 2017, I held an evidentiary hearing on the           revealed evidence that one of Mesika's businesses may have
 Statements Motion. [Doc. 67, Transcript (“Tr.”) at 53-54].        manufactured some of the products that were discovered. [Id.
 At that hearing, the Government presented the testimony of        at 9]. Following the search, the agents obtained a federal
 Scott Tolman and Brian Kriplean, both special agents with the     grand jury subpoena for one of Mesika's businesses. 2 [Id.].
 FDA-OCI.
                                                                    *3 On October 4, 2013, Special Agent Kriplean and another
                                                                   agent went to Mesika's business on Pleasantdale Road in
    A. The May 16, 2013 Statement
                                                                   Atlanta with two purposes in mind—to serve the subpoena
 Scott Tolman testified that on May 16, 2013, he conducted a
                                                                   and to interview anyone they could at the location. [Tr. at
 non-custodial interview of Beny Mesika at Mesika's business
                                                                   9, 23]. The agents arrived at the location in an unmarked
 office at 4301 Pleasantdale Road, in Atlanta, Georgia as
                                                                   car wearing business casual clothing but with their badges
 part of an investigation concerning unlisted ingredients in a
                                                                   and firearms exposed. [Id. at 10]. Upon arrival, the agents
 nutritional supplement that had been shipped from Mesika's
                                                                   identified themselves as agents with the FDA and showed
 address with his name on it. [Tr. at 52-53, 69]. According
                                                                   their credentials to a woman named Elizabeth Kuecher. [Id. at
 to Special Agent Tolman, Mesika and his company were
                                                                   11]. Special Agent Kriplean testified that he told Ms. Kuecher
 targets of the investigation. [Id. at 53]. Special Agent Tolman
                                                                   that “we had some documents to provide to the owners, and
 testified that he arranged the interview in advance by speaking
                                                                   we would like to speak to one of them.” [Id.]. In response,
 with Mesika by phone. [Id. at 54]. At the designated time and
                                                                   Ms. Kuecher stated that neither was present but that she could
 place, Special Agent Tolman arrived at Mesika's business in
                                                                   call one of them on the phone, which she did. [Id. at 11-12].
 an unmarked car, along with Special Agent Gerald Dunham,
                                                                   She then made a phone call that lasted about thirty seconds
 also of the FDA. [Id. at 55]. Both were wearing casual clothes.
                                                                   and advised the agents that Mesika would be coming to meet
 [Id.]. The agents were armed, but their weapons were not
                                                                   them in about fifteen minutes. [Id. at 12].
 visible. [Id.]. Upon their arrival, Mesika met the agents, who
 showed Mesika their credentials. [Id.].
                                                                   The agents waited for Mesika in the foyer area, standing near
                                                                   a conference table. [Tr. at 13]. Approximately fifteen minutes
 Special Agent Tolman testified that he and Special Agent
                                                                   later, Mesika arrived. [Id. at 14]. The agents identified
 Dunham entered Mesika's business into an open room similar
                                                                   themselves to him as agents, and they displayed their
 in size to my courtroom, and they sat down at a conference
                                                                   credentials. [Id.]. Then they all sat down at the conference
 table. [Tr. at 56]. The conversation began with a discussion
                                                                   table and spoke for approximately twenty minutes. [Id. at 16].
 about Mesika's love for fine art, and then it moved on to
                                                                   Special Agent Kriplean described the room as follows: “[I]t's
 Mesika's business. [Id. at 57]. According to Special Agent
                                                                   a business about the size of this courtroom, and there aren't
 Tolman, Mesika appeared relaxed during the conversation,
                                                                   any partitioned walls per se that you can see. The conference
 and was not nervous. [Id. at 57-59]. At one point, Mesika


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 table is visible from the front door, as is all the desks and the   explained below, I find both these arguments to be meritless,
 computers and such ... one large room.” [Id. at 32]. Special        and I recommend that the Statements Motion be DENIED.
 Agent Kriplean sat at the head of the table; Mesika was seated
 to his left, and the other agent was seated to his right. [Id. at
 16]. According to Special Agent Kriplean, Mesika was not              1. Whether Mesika Was in Custody
 restrained in any way, and there was nothing that might have        Once in custody, a suspect may not be interrogated unless
 caused Mesika to believe that he was not free to leave. [Id.].      he is advised of his Miranda rights, he demonstrates that
                                                                     he understands them, and he voluntarily waives them, either
 Special Agent Kriplean testified that he did not tell Mesika        explicitly or implicitly. See   Yarborough v. Alvarado, 541
 that he was under arrest or that he was required to answer          U.S. 652, 661-63 (2004). Custody is established if, in light
 any questions. [Tr. at 16-17]. He described the interview as        of the circumstances of an interrogation, a reasonable person
 a “casual conversation” that was not confrontational, and he        would have felt that he was not at liberty to terminate
 described Mesika's demeanor as “calm.” [Id. at 17]. When
                                                                     the interrogation and leave. See      id. at 663. The test is
 Special Agent Kriplean asked Mesika who manufactured the
                                                                     objective: whether a reasonable person in the defendant's
 products that his company was distributing, Mesika declined
                                                                     position would feel a restraint on his freedom equivalent to
 to answer and said that he would not like to answer any
 more questions without talking to his attorney. [Id. at 17-18].     that normally associated with formal arrest. See     Berkemer
 Special Agent Kriplean testified that after that point, they did
                                                                     v. McCarty, 468 U.S. 420, 441 (1984);        United States
 not ask any more questions, and they served the grand jury
                                                                     v. Torkington, 874 F.2d 1441, 1445 (11th Cir. 1989). The
 subpoena on Mesika. [Id. at 18]. He explained to Mesika in
                                                                     Eleventh Circuit considers several factors in applying this
 general terms what the subpoena was, what records it was
                                                                     objective test, including whether the officers brandished
 seeking, and how Mesika could produce the records. [Id.].
                                                                     weapons, touched the suspect, or used language or a tone
 Special Agent Kriplean testified that after Mesika was served
                                                                     that indicated that compliance with the officers could be
 with the subpoena and while Kriplean was going over the
 subpoena, Mesika “made a comment to the effect that he had          compelled. See     United States v. Street, 472 F.3d 1298,
 previously had an encounter with FDA agents regarding a             1309 (11th Cir. 2006). No particular fact in the “custody”
 purchase of products that had a banned substance in it that         analysis is outcome determinative; rather, the court simply
 was not banned at the time that the product was purchased.”         weighs the totality of the circumstances. See United States
 [Id.]. At that point, the agents left. [Id. at 19].                 v. Lall, 607 F.3d 1277, 1284 (11th Cir. 2010). Defendant
                                                                     carries the burden of showing that he was in custody, and
                                                                     therefore, that Miranda warnings were necessary. See United
    C. Mesika's Statements Motion
                                                                     States v. de la Fuente, 548 F.2d 528, 533 (5th Cir. 1977);
 As noted above, Mesika originally moved to suppress only
                                                                     United States v. Peck, 17 F. Supp. 3d 1345, 1353-55 (N.D.
 the October 4, 2013 statement but later supplemented his
                                                                     Ga. 2014) (discussing the applicability of de la Fuente).
 motion to include the May 16, 2013 statement. [Docs. 47, 61].
 Following the evidentiary hearing and the preparation of the
                                                                     In support of his contention that he was effectively in custody,
 transcript, Mesika filed a post-hearing brief omitting some
                                                                     Mesika points to the following facts:
 of the arguments that he had previously made. 3 [Doc. 80].
 The Government filed a response. [Doc. 84]. Mesika did not            • at the time of the interviews, Mesika was under
 file a reply. In his post-hearing brief, Mesika argues that he          federal investigation, the outcome of which could affect
 was entitled to Miranda warnings during both interviews for             Mesika's freedom;
 several reasons that are discussed more fully below.
                                                                       • the agents used a “ruse” and various “tactics” to get
                                                                          Mesika to talk, specifically during the second interview
 II. DISCUSSION                                                           when they did not tell him up front that they were there
  *4 Mesika's arguments fall into two categories. First, he               to serve a subpoena on him;
 argues that he was effectively in custody during the interview,
 such that the agents' failure to advise him of his Miranda            • the interviews were conducted in a hostile, freedom-
 rights renders his statements inadmissible. Second, he argues            inhibiting environment; and
 that his statements were not voluntary. [Doc. 80 at 4-6]. As


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   • the questions posed were designed to elicit inculpatory        See     Colorado v. Connelly, 479 U.S. 157, 170 (1986)
      statements.                                                   (citing    Moran v. Burbine, 475 U.S. 412, 421 (1986) (“The
                                                                    relinquishment of the right must have been voluntary in the
 [Doc. 80 at 4-6]. According to Mesika, these facts would
                                                                    sense that it was the product of a free and deliberate choice
 make a reasonable, innocent person believe that he was not
                                                                    rather than intimidation, coercion or deception.”) ). The issue
 free to leave, meaning that Mesika should have been given
                                                                    of voluntariness is determined by examining the totality of
 Miranda warnings.
                                                                    the circumstances, and the burden is on the Government
                                                                    to establish, by a preponderance of the evidence, that a
 Analysis of the circumstances presented in this case leads
 to a conclusion that Mesika has not carried his burden of          challenged confession was voluntary. See        Lall, 607 F.3d
 establishing that he was in custody, for Miranda purposes,         at 1285.
 during his interviews. The undisputed evidence is that he
 agreed to be interviewed, and he arrived at both the interviews    In his post-hearing brief, Mesika makes only a single passing
 without the assistance or involvement of law enforcement,          reference to the voluntariness of his statement: “The fact that
 knowing that federal agents wanted to speak with him.              Mesika was not informed of his Miranda rights or told that
 Although he was not told that he was free to leave, he also was    he was free to stop the interview at any time also indicates
 not told that he could not leave. The tone of the interviews was   his statement was not voluntarily made with knowledge of
 calm, and there is no evidence that either interview became        the situation facing him.” [Doc. 80 at 4]. This argument fails
 confrontational. There is no evidence that the agents touched      both factually and legally. There is no evidence of any threats,
 Mesika, brandished their weapons, or prevented him from            violence, or promises. There is no evidence to indicate that
 leaving. When, during the second interview, Mesika indicated       Mesika was held in the conference room, that he was in an
 that he wanted to speak with a lawyer, the questioning ceased.     intimidating custodial condition, or that he was deprived of
 Mesika has presented no evidence of any threats, coercion,         his liberty at any point during either interview. Mesika was
 or deception on the part of law enforcement. To the extent         not handcuffed or restrained during the interviews, and the
 Mesika implies that there was something improper about the         undisputed evidence is that everyone spoke in calm, non-
 fact that the agents conducted an interview with him that was      confrontational tones. There is simply nothing in the record to
 designed to bolster their case against him, he has presented no    suggest that Mesika was coerced, threatened, or intimidated
 law to support that argument. Nor has Mesika shown that the        into speaking with the agents, or that the agents made any
 agents were somehow required to serve the subpoena before          promises to induce him to talk. Moreover, the fact that Mesika
 attempting to interview him. There is simply nothing in the        requested an attorney during the second interview shows that
 record to show that anything improper occurred or that there       he had the ability to refuse to answer questions and that he was
 was any attempt to intimidate or trick Mesika. In sum, there       aware of that right. Based on the totality of the circumstances
 is no evidence to support Mesika's argument that a reasonable      and the evidence presented at the hearing, I conclude that the
 person in his position would have felt that he was subject         Government has carried its burden of showing that both of
 to a restraint on his freedom of movement akin to a formal         Mesika's statements to the agents were voluntary. Therefore,
 arrest. Because Mesika was not in custody when he made the         this second basis for the Statements Motion also is without
 statements to the agents, Miranda warnings were not required.      merit.
 Accordingly, this basis for his Statements Motion is without
 merit.                                                             For these reasons, I recommend that the Statements Motion
                                                                    be DENIED in its entirety.

    2. Whether Mesika's Statements Were Voluntary
  *5 “[A] confession, in order to be admissible, must be
                                                                                      WARRANTS MOTION
 free and voluntary; that is, [it] must not be extracted by
 any sort of threats or violence, nor obtained by any direct        I. BACKGROUND
 or implied promises, however slight.”         Bram v. United
                                                                      A. The Business Location Warrants
 States, 168 U.S. 532, 542-43 (1897) (citations omitted). The
                                                                    On January 24, 2014, federal law enforcement officers
 focus of the voluntariness inquiry is on whether the defendant
                                                                    presented Gerrilyn Brill, a United States Magistrate Judge
 was coerced by the government into making the statement.


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 for the Northern District of Georgia, with an affidavit and       pro-hormone supplements, that ANS had manufactured.
 application for a series of search warrants authorizing the       [Kriplean Aff. ¶¶ 42-46]. From July 2012 to May 2013, law
 search of four business properties associated with Mesika (the    enforcement made three undercover purchases from Rezultz
 “Business Locations”). 4 [Doc. 84-5 (“Kriplean Aff.”) ¶ 2].       and sent the products to the FDA's Forensic Chemistry Center
                                                                   for analysis. The testing revealed that “[m]any of the products
 The affiant was Brian Kriplean, the Special Agent who             were found to contain non dietary ingredients including
 had conducted the October 4, 2013 interview with Mesika.          anabolic steroids” that were illegal for Rezultz to distribute
 In his affidavit, Special Agent Kriplean averred that             and were illegal for ANS to manufacture. [Id. ¶ 47]. In
 there was probable cause to believe that Active Sports            September 2013, several products were seized from Rezultz
 Supplements, LLC (“Active Sports”), one of the occupants          during the execution of a federal search warrant, including
 of the four Business Locations, was “engaged in the               products bearing the same name as products that NutriPac had
 wholesale distribution and manufacturing of purported             purchased from ANS. [Id. ¶ 48]. Several of those products
 dietary supplement products that are misbranded and               also tested positive for anabolic steroids. [Id. ¶ 49]. During
 adulterated foods and/or drugs, some of which contain             the course of the investigation, financial records revealed
 anabolic steroids.” [Kriplean Aff. ¶ 3]. Special Agent            that NutriPac had issued checks to the Subject Businesses in
 Kriplean explained in his affidavit that the FDA is the federal   amounts in excess of $200,000 during a five-month period
 agency responsible for protecting the health and safety of the    between November 2012 and April 2013. [Id. ¶ 54].
 American public by enforcing the federal Food, Drug, and
 Cosmetic Act, 21 U.S.C. §§ 301-395 (“FDCA”). [Id. ¶ 9]. He        In his affidavit, Special Agent Kriplean referred to his
 also explained that pursuant to the Controlled Substances Act,    October 2013 interview with Mesika during which Mesika
 21 U.S.C. §§ 801 et seq. (“CSA”), certain substance classified    allegedly advised that his company “did not manufacture
 as anabolic steroids are Schedule III controlled substances.      dietary supplements but was in the process of acquiring a
 [Id. ¶¶ 26-27].                                                   FDA registered and GMP certified facility to commence
                                                                   manufacturing.” [Kriplean Aff. ¶ 57]. He then proceeded to
  *6 According to Special Agent Kriplean, in June 2012,            provide additional facts related to the connection between
 the FDA-OCI began an investigation into the distribution of       the Subject Businesses and each of the four Business
 misbranded and adulterated dietary supplements suspected to       Locations that he was requesting be searched, facts showing
 contain anabolic steroids and other drugs not considered to       the relationship between the Subject Businesses and De
 be dietary ingredients. [Kriplean Aff. ¶ 29]. The investigation   Melo's businesses, and evidence that the Subject Businesses
 identified a network of individuals and businesses involved in    were actively engaged in improperly manufacturing dietary
 nationwide manufacturing and distribution of certain dietary      supplements. [Id. ¶¶ 58-88]. This evidence included: checks
 supplements marketed by the dietary supplement industry           issued by Active Sports for rent, utilities, and insurance
 as “pro-hormone supplements” intended to increase muscle          payments at the four Business Locations; checks issued by
 mass and strength. [Id. ¶ 30]. Two of the businesses identified   Active Sports for large pieces of manufacturing equipment; a
 were Active Sports and Adrenaline Nutrition Supplements,          purchase order purportedly showing a link between a North
 LLC (“ANS”) (collectively “the Subject Businesses”); the          Carolina man diagnosed with liver toxicity and a product
 Subject Businesses were incorporated by Mesika and Houser.        purchased from ANS; items recovered from the dumpster
 [Id. ¶¶ 31-33]. In the affidavit, Special Agent Kriplean          behind one of the Business Locations that were consistent
 stated that the Subject Businesses, Mesika, and Houser,           with the manufacture of dietary supplements; and the results
 were “believed to be using [the four Business Locations] to       of surveillance connecting the Subject Businesses, Mesika,
 illegally manufacture, warehouse, distribute, and sell” dietary   and Houser to the four Business Locations and showing that
 supplements that contained non-dietary ingredients and/or         they were engaged in the manufacture of dietary supplements.
 controlled substances. [Id. ¶ 33-34].                             [Id.¶¶ 61-88].


 Special Agent Kriplean averred that during the investigation,     Judge Brill witnessed the applications and signed the
 law enforcement also identified two companies owned by            warrants (the “Business Location Warrants”), authorizing
 a man named Joe De Melo—Rezultz Distribution, LLC                 law enforcement to search the four Business Locations
 (“Rezultz”) and NutriPac Manufacturing, LLC (“NutriPac”)          for “evidence, fruits, and instrumentalities of violations
 —that were distributing some dietary supplements, including       of federal law, including      21 U.S.C. § 331 [relating to


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 prohibited acts with respect to adulterated or misbranded          to Special Agent Kriplean, these items were consistent with
                                                                    other items he had encountered during his investigation. [Id.
 food or drugs],   21 U.S.C. § 841(a)(1) [making it a
                                                                    ¶ 12]. He stated that he was aware from his investigation that:
 crime to manufacture, distribute, dispense, and possess
                                                                    (1) Mesika and Houser had purchased chemical compounds
 controlled substances], and         18 U.S.C. § 1341 and           from international suppliers to manufacture misbranded drugs
     1343 [prohibiting mail and wire fraud], related to             containing anabolic steroids; and (2) “Steel Woody” is
 purported dietary supplements.” [Attachment B to Docs.             a product that had been found to contain an undeclared
 84-1 (Subject Location A), 84-2 (Subject Location B),              prescription drug. [Id.]. Special Agent Kriplean stated that
 84-3 (Subject Location C), 84-4 (Subject Location D) ].            based on these facts, he believed that there was probable
 Those items included, among other things: misbranded               cause to believe that execution of a warrant at Mesika's home
 and/or adulterated foods or drugs; raw materials used to           would reveal evidence of violations of federal law, including
 manufacture misbranded and/or adulterated food or drugs;           the introduction into interstate commerce of misbranded and
 labels and advertisements pertaining to misbranded and/            adulterated foods or drugs and distribution of (and conspiracy
 or adulterated food or drugs; paraphernalia for packaging,         to distribute) anabolic steroids, a controlled substance. [Id. ¶
 weighing, or distributing misbranded and/or adulterated food       3].
 or drugs; and equipment used to manufacture misbranded
 and/or adulterated food or drugs. [Id.]. The Business Location     Judge King witnessed the application and signed the
 Warrants also authorized the seizure of other, more general,       warrant, which is hereinafter referred to as the “Residence
 information related to the operation of the Subject Businesses,    Warrant.” [Doc. 63-2]. The Residence Warrant authorized
 such as computers and business records “pertaining to the          law enforcement to search Mesika's residence for “evidence,
 illegal purchase, possession, and/or unauthorized distribution     fruits, and instrumentalities of violations of federal law,
 of misbranded and/or adulterated foods and/or drugs.” [Id.].       including    21 U.S.C. § 331(a) [relating to prohibited
                                                                    acts with respect to adulterated or misbranded food or

    B. The Residence Warrant                                        drugs],     21 U.S.C. § 841(a)(1) and      (b)(1)(E) [making
  *7 Two years later, on June 21, 2016, Mesika and Houser           it a crime to manufacture, distribute, dispense, and possess
 were indicted, as described above. [Doc. 1]. Thereafter,           controlled substances], and 21 U.S.C. § 846 [conspiracy],
 Mesika was arrested, and he had his initial appearance in this     related to purported dietary supplements.” [Attachment B to
 Court on July 1, 2016 before United States Magistrate Judge        Doc. 63-2]. Those items included, among other things: any
 Janet King. [Doc. 11]. That same day, Special Agent Kriplean       potentially misbranded and/or adulterated foods or drugs; raw
 returned to federal court and presented Judge King with an         materials used to manufacture misbranded and/or adulterated
 affidavit and application for a warrant authorizing the search     food or drugs; labels and advertisements pertaining to
 of Mesika's residence located at 8241 Nesbit Ferry Road, in        misbranded and/or adulterated food or drugs; equipment used
 Sandy Springs, Georgia. [Doc. 63-1 (“Second Kriplean Aff.”)        to manufacture misbranded and/or adulterated food or drugs;
 ¶ 2].                                                              and paraphernalia for packaging, weighing, or distributing
                                                                    misbranded and/or adulterated food or drugs. [Id.]. The
 In his affidavit, Special Agent Kriplean averred that he           Residence Warrant also authorized the seizure of all business
 was part of the group sent to execute the arrest warrant           records “pertaining to the illegal purchase, possession, and/
 on June 30, 2016 at Mesika's residence. [Second Kriplean           or unauthorized distribution of misbranded and/or adulterated
 Aff. ¶ 11]. When they arrived, the agents received consent         foods and/or drugs.” [Id.].
 from an occupant of the home to search for Mesika. [Id.].
 According to the affidavit in support of the application for the
                                                                       C. The Computer Warrant
 warrant, while searching for Mesika, Special Agent Kriplean
                                                                    Twelve days after obtaining the Residence Warrant, on
 observed several items “in plain view inside a closet within
                                                                    July 13, 2016, Special Agent Wesley Cooper of the
 the attached garage.” [Id.]. Those items included “several
                                                                    Internal Revenue Service Criminal Investigations (“IRS-CI”)
 international parcels which purported to contain quantities
                                                                    presented United States Magistrate Judge John K. Larkins, III
 of chemical compounds ... labels for dietary supplement
                                                                    with an application and affidavit seeking a warrant to search
 products; and a box which appeared to contain the dietary
                                                                    and copy the data and contents of three computers that had
 supplement product called ‘Steel Woody.’ ” [Id.]. According
                                                                    been seized from Mesika's residence during the execution


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 of the Residence Warrant. [Doc. 84-7 (“Cooper Aff.”) ].             unconstitutionally overbroad and not particularized [id. at 3,
 In the affidavit in support of the request, Special Agent           13-19]. 5 I address these arguments in turn.
 Cooper stated that there was probable cause to believe that
 the requested search of the computers would reveal evidence
 of violations of federal law, including the introduction into
 interstate commerce of misbranded and adulterated foods or                                1. Probable Cause
 drugs as well as distribution of (and conspiracy to distribute)
                                                                     Defendants contend that the Business Location Warrants were
 anabolic steroids, a controlled substance. [Id. ¶ 3]. Attached to
                                                                     not supported by probable cause because (1) there is no direct
 Special Agent Cooper's affidavit as Exhibit 1 was the affidavit
                                                                     link to show that the products seized from Rezultz originated
 that had been submitted to Judge King in connection with the
                                                                     from ANS; (2) although the affidavit states that the products
 Residence Warrant. According to Special Agent Cooper, he
                                                                     seized from Rezultz tested positive for certain drugs, the
 believed that the computers could have been used by Mesika
                                                                     affidavit “fails to state whether any amount/quantity of the
 and Houser (in the course of the business to manufacture and
                                                                     drugs could be identified, or whether the product just tested
 distribute misbranded drugs and drugs containing anabolic
                                                                     positive for the presence of certain drug components”; and (3)
 steroids) to create, maintain, and transmit business records
                                                                     there was insufficient information in the affidavit to establish
 such as email correspondence, purchase orders, invoices,
                                                                     probable cause with respect to each of the four Business
 work orders, and wire transfers. [Id. ¶ 12]. He further averred
                                                                     Locations. [Doc. 46 at 2, 9-13].
 that businesses and individuals engaged in illegal enterprises
 and the laundering of illicit proceeds often produce and
                                                                     “[T]he task of a reviewing court is not to conduct a de
 maintain records of such criminal activity on their computers.
                                                                     novo determination of probable cause, but only to determine
 [Id. ¶ 13].
                                                                     whether there is substantial evidence in the record supporting
                                                                     the magistrate judge's decision to issue the warrant.” United
  *8 Judge Larkins witnessed the application and signed
                                                                     States v. Bushay, 859 F. Supp. 2d 1335, 1379 (N.D. Ga. 2012)
 the warrant, hereinafter referred to as the “Computer
 Warrant.” [Doc. 84-6]. The Computer Warrant authorized              (citing    Massachusetts v. Upton, 466 U.S. 727, 728 (1984)
 the search of three specified computers [see Attachment A           ). Probable cause to support a search warrant exists when
 to Doc. 84-6] for “evidence, fruits, and instrumentalities of       the totality of the circumstances allows a conclusion that
                                                                     there is a fair probability of finding contraband or evidence
 violations of federal law, including but not limited to  21
                                                                     at a particular location. See United States v. Brundidge,
 U.S.C. § 331(a) [relating to prohibited acts with respect to
                                                                     170 F.3d 1350, 1352 (11th Cir. 1999). The search warrant
 adulterated or misbranded food or drugs],          21 U.S.C. §      affidavit must “state facts sufficient to justify a conclusion
                                                                     that evidence or contraband will probably be found at the
 841(a)(1) and (b)(1)(E) [making it a crime to manufacture,
 distribute, dispense, and possession controlled substances],        premises to be searched.”       United States v. Martin, 297
 and 21 U.S.C. § 846 [conspiracy], related to purported dietary      F.3d 1308, 1314 (11th Cir. 2002) (citation omitted). “[T]he
 supplements” [Attachment B to Doc. 84-6]. The Computer              affidavit should establish a connection between the defendant
 Warrant stated that those items included “All business records      and the residence to be searched and a link between the
 and related correspondence, in whatever form, including             residence and any criminal activity.” Id. (citation omitted).
 handwritten and computer-generated, pertaining to the illegal
 purchase, possession, and/or unauthorized distribution of           Issuing judges are to employ a practical, commonsense
 misbranded and/or adulterated foods and/or drugs....” [Id.].        approach to the probable cause analysis and should avoid
 The Computer Warrant then provided additional examples of           hypertechnical review of the legitimacy of search warrants:
 what types of information could be seized. [Id.].


                                                                                  In attempting to ensure that search
 II. DISCUSSION
                                                                                  warrant affidavits comply with
   A. The Business Location Warrants                                              the Fourth Amendment's prohibition
 Defendants argue that the Business Location Warrants were                        against unreasonable searches and
 not supported by probable cause [Doc. 46 at 2, 9-13] and were                    seizures resultant from warrants
                                                                                  issued without probable cause, the


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              issuing magistrate is simply to make                    government documents, UPS documents, bank records, and
              a practical, commonsense decision                       witness interviews. [Id. ¶¶ 46, 52-53, 55-56, 59, 61, 67-72,
              whether, given all the circumstances                    74-88].
              set forth in the affidavit, there is
              a fair probability that contraband                      Taken together, the evidence presented in the Kriplean
              or evidence of a crime will be                          Affidavit established a “fair probability that contraband or
              found in a particular place. Probable                   evidence of a crime [would be] found” at all four Business
              cause deals with probabilities. These
                                                                      Locations. See    United States v. Bradley, 644 F.3d 1213,
              are not technical; they are the
                                                                      1263 (11th Cir. 2011). While it was not a certainty that such
              factual and practical considerations of
                                                                      evidence would be discovered, it was certainly probable that
              everyday life on which reasonable and
              prudent men, not legal technicians,                     it would, and that is all that the law requires. See     Miller,
              act. Courts reviewing the legitimacy                    24 F.3d at 1361.
              of search warrants should not
              interpret supporting affidavits in
              a hypertechnical manner; rather, a                                  2. Overbroad and Not Particularized
              realistic and commonsense approach
              should be employed so as to encourage                   Defendants also argue that the Business Location Warrants
              recourse to the warrant process and to                  were unconstitutionally overbroad and not particularized
              promote the high level of deference                     because: the warrants allowed for the seizure of “all records”
              traditionally given to magistrates in                   and a “whole-sale search and seizure of all the data contained
              their probable cause determinations.                    on computers,” and they contained no pre-approved search
                                                                      protocol to prevent the seizure and retention of documents not
                                                                      covered by the warrant and to protect that information. [Doc.
                                                                      46 at 3, 13-19].
  *9     United States v. Miller, 24 F.3d 1357, 1361 (11th Cir.
 1994) (internal citations and quotations omitted). Reviewing
                                                                      The Fourth Amendment provides that “no Warrants
 courts accord “great deference” to judicial determinations
                                                                      shall issue, but upon probable cause, supported by Oath
 of probable cause to issue a search warrant. See     United          or affirmation, and particularly describing the place to
 States v. Leon, 468 U.S. 897, 926 (1984); United States v.           be searched, and the persons or things to be seized.”
 Joseph, 709 F.3d 1082, 1093 (11th Cir. 2013). Applying these         U.S. CONST. amend. IV. 6 The particularity requirement
 standards, it is evident that Judge Brill followed the law,          protects against “the use of general warrants as instruments
 used a commonsense, practical approach, and correctly found
 that there was probable cause to believe that the requested          of oppression.”     Stanford v. Texas, 379 U.S. 476, 482
 searches would yield evidence of violations of law.                  (1965). “The requirement that warrants particularly describe
                                                                      the place to be searched and the things to be seized makes
 The Kriplean Affidavit demonstrated that on more than                general searches under them impossible.” United States
 one occasion, law enforcement agents had purchased                   v. Travers, 233 F.3d 1327, 1329 (11th Cir. 2000) (citing
 dietary supplement products that appeared to have been                  Stanford, 379 U.S. at 485). A search based on a warrant
 manufactured by ANS and that tested positive for both                that fails to sufficiently particularize the place to be searched
 controlled and non-controlled anabolic steroids. [Doc. 84-5,         or the things to be seized is unconstitutional. To deter such
 Kriplean Aff. ¶¶ 42-53]. The affidavit also included facts           warrants and searches, any evidence so seized must be
 related to a report of liver toxicity in a patient who had taken a
                                                                      excluded from the trial of the defendant. See          Stone v.
 dietary supplement that appeared to have been manufactured
                                                                      Powell, 428 U.S. 465, 492 (1976) (“Evidence obtained by
 by ANS and that tested positive for non-dietary ingredients
                                                                      police officers in violation of the Fourth Amendment is
 including dimethazine, testosterone, and methasterone. [Id.
                                                                      excluded at trial in the hope that the frequency of future
 ¶¶ 49, 63-64]. And the affidavit contained sufficient facts
                                                                      violations will decrease.”). The Eleventh Circuit instructs that
 tying the suspected unlawful activity to all four locations,
                                                                      the particularity requirement “be applied with a practical
 including facts derived from surveillance, “trash pulls,”
                                                                      margin of flexibility, depending on the type of property to be


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 seized, and that a description of property will be acceptable
 if it is as specific as the circumstances and nature of activity   Defendants complain that seventeen computers were seized,
                                                                    but “[s]o long as the computer search is limited to a search for
 under investigation permit.”    United States v. Wuagneux,
                                                                    evidence explicitly authorized in the warrant, it is reasonable
 683 F.2d 1343, 1349 (11th Cir. 1982) (citations omitted).
                                                                    for the executing officers to open the various types of files
                                                                    located in the computer's hard drive in order to determine
  *10 I note initially that in making their overbreadth
 argument, Defendants ignore the fact that the scope of             whether they contain such evidence.”     United States v.
 the things to be seized in the Business Location Warrants          Richards, 659 F.3d 527, 540 (6th Cir. 2011) (citations and
 is explicitly limited in multiple ways. First, the opening
                                                                    internal quotations omitted); see also        United States v.
 phrase of Attachment B operates as a limitation, authorizing
                                                                    Triplett, 684 F.3d 500, 505-06 (5th Cir. 2012) (“Although
 the seizure of “[e]vidence, fruits, and instrumentalities” of
                                                                    officers should limit exposure to innocent files, for a computer
 violations of the FDCA and the CSA as well as mail
                                                                    search, in the end, there may be no practical substitute for
 and wire fraud. [Docs. 84-1 through 84-4 at 4]. Second,
                                                                    actually looking in many (perhaps all) folders and sometimes
 the “business records” category about which Defendants
                                                                    at the documents contained within those folders”) (citation
 primarily complain contains an additional limiting provision:
                                                                    and internal quotations omitted). Here, having established
                                                                    a nexus between the crimes alleged and the computers, a
                                                                    thorough search of these items was the only practical way
              9.      All business records and                      to determine whether they contained evidence of the crimes
                   related correspondence, in whatever              under investigation or any other information responsive to the
                   form, including handwritten and                  specific categories of information set forth in the Business
                   computer-generated, pertaining to                Location Warrants.
                   the illegal purchase, possession,
                   and/or unauthorized distribution                 Defendants' argument that evidence should be suppressed
                   of misbranded and/or adulterated                 because there was no pre-approved protocol for the computer
                   foods and/or drugs....                           searches also is without merit. In United States v. Bradley,
                                                                    the Eleventh Circuit explicitly rejected this argument, stating,
                                                                    “we reject outright the [defendants'] claim that the searches
 Id. (emphasis added). In making their arguments, Defendants        were unconstitutional because the agents failed to obtain pre-
 simply do not acknowledge these limitations.                       approval from the district court of a search protocol before
                                                                    conducting the searches.”      644 F.3d 1213, 1258 n.95 (11th
 By explicitly limiting the scope of what could be seized
 to evidence of the crimes under investigation, the Business        Cir. 2011); see also      United States v. Khanani, 502 F.3d
 Location Warrants were sufficiently particular to enable the       1281, 1290-91 (11th Cir. 2007) (rejecting the argument that
 searchers to reasonably ascertain and identify the documents       the lack of a written search protocol required the district court
 and information authorized to be seized. See United States         to suppress all evidence agents seized as a result of the search
 v. Wilson, No. 4:12-cr-23-RLV-WEJ, 2012 WL 7992597,                of the defendants' computers); United States v. Intakanok,
 at *15 (N.D. Ga. Nov. 28, 2012) (concluding that a search          No. CR 114-060, 2014 WL 4825368, at *8 (S.D. Ga. Sept.
 warrant was written with sufficient particularity because          25, 2014) (“It is well-established in the Eleventh Circuit that
 the items listed on the warrants were qualified by phrases         warrants of this nature need not specify search protocols or
 that emphasized that the items sought were those related           methodologies in order to pass constitutional muster.”). Here,
 to the crime under investigation). Because the things to be        Defendants have failed to cite any binding case law that would
 seized were limited to only those things connected with            lead me to conclude that the procedures used in this case
 the crimes under investigation, there is a sufficient “nexus”      infringed on Defendants' Fourth Amendment rights.
 that satisfies the practical realities “that enable the searcher
 to ascertain and identify things authorized to be seized.”          *11 Other courts presented with similar arguments have
                                                                    recognized the practical difficulties inherent in searching
    United States v. Smith, 918 F.2d 1501, 1507-08 (11th Cir.
                                                                    computers and have permitted law enforcement to seize
 1990) (approving similar language for documents pertaining
 to narcotics trafficking).                                         computers under similar circumstances. See        United States



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 v. Burgess, 576 F.3d 1078, 1094 (10th Cir. 2009) (“it is folly
 for a [computer] search warrant to attempt to structure the
 mechanics of the search, and a warrant imposing such limits
                                                                      1. Fruit of the Poisonous Tree—the Look in the Closet
 would unduly restrict legitimate search objectives”); see also
    Richards, 659 F.3d at 538 nn.8-9 (collecting cases).            *12 Defendants' lead argument challenging the Residence
                                                                   Warrant is that it was based on information illegally obtained
 Moreover, the Kriplean Affidavit provided detailed                because the agent “searched a closet” which amounts to an
 information concerning the anticipated search and seizure of      illegal warrantless search. According to Defendants, “[o]nce
 computers at the Business Locations. [Doc. 84-5, Kriplean         an agent opens a closet and does not see a human being, he
 Aff. ¶¶ 89-93]. Special Agent Kriplean stated facts to show       has no right to remain and rummage through the contents of
 that there was probable cause to believe that records could       the closet.” [Doc. 46 at 19-20]. I have previously addressed
 be stored on computer hard drives or other electronic storage     this argument when I denied Mesika's request for a Franks
 media. [Id. ¶ 90]. He also set forth the need to locate,          hearing, concluding:
 and the process for reviewing, forensic computer evidence
                                                                     It is evident that Mesika has failed to make a sufficient
 establishing how the computers were used, the purpose for
                                                                     preliminary showing to warrant a Franks hearing. Mesika
 their use, who used them, and when. [Id. ¶ 91]. Special Agent
                                                                     does not contest that on June 30, 2016, law enforcement
 Kriplean detailed the constraints of thoroughly searching
                                                                     agents went to his residence to execute an arrest warrant;
 computers on-site, thus requiring the seizure and/or imaging
                                                                     that those agents obtained consent to search the home
 of entire computers and/or storage media for later, off-site
                                                                     for Mesika; that the items identified in the affidavit were
 review. [Id. ¶ 92]. And he stated that the search techniques
                                                                     actually located in the closet inside the garage; or that the
 used to locate the evidence described in the Business Location
                                                                     agents looked in the closet as part of their lawful efforts to
 Warrants could include computer-assisted scans of the entire
                                                                     execute the arrest warrant. Rather, Mesika contends only
 medium and might expose many parts of the computer hard
                                                                     that the closet door in question was closed. I note that
 drive to human inspection. [Id. ¶¶ 89-93]. This was sufficient
                                                                     Special Agent Kriplean does not state whether the door was
 for Judge Brill to authorize the seizure of the computers.
                                                                     closed or open, only that in an attempt to execute the arrest
 Defendants have provided no case law holding that the
                                                                     warrant, he “observed several items in plain view inside
 information in the Kriplean Affidavit was insufficient or that
                                                                     a closet within the attached garage.” (Doc. 63-1 at 6-7).
 the Business Location Warrants are somehow improper on the
                                                                     Mesika provides no legal authority for the proposition that
 issue of computers, and therefore I conclude that Judge Brill's
                                                                     agents conducting a search for a person may not open a
 decision to sign the Business Location Warrants was proper.
                                                                     closet door and look inside or that the plain view doctrine
 See generally Wilson, 2012 WL 7992597, at *15 (denying
                                                                     does not apply to areas properly searched in connection
 motion to suppress evidence seized from computers).
                                                                     with a consent search for a person in order to execute an
                                                                     arrest warrant. I also note that Mesika makes no offer of
    B. The Residence Warrant                                         proof, instead relying solely on argument of counsel.
 Defendants make several arguments as to why the fruits of the
                                                                     Mesika has failed to make a “substantial preliminary
 Residence Warrant should be suppressed. First, they contend
                                                                     showing” that Special Agent Kriplean made a false
 that the Residence Warrant was based on information illegally
                                                                     statement or omission, either intentionally or with reckless
 obtained via an illegal warrantless search that occurred when
 the agents were trying to arrest Mesika. [Doc. 46 at 19-20].        disregard for the truth.   Franks, 438 U.S. at 171-72, 98 S.
 Second, they contend that the Residence Warrant was not             Ct. at 2684-85;     United States v. Cross, 928 F.2d 1030,
 supported by probable cause. [Id. at 4, 20]. Third, they argue      1040 (11th Cir. 1991). Nor has he shown that even if his
 that the Second Kriplean Affidavit failed to describe a nexus       version of the facts is true—i.e., that the closet door was
 between the places to be searched and the items sought. [Id.        closed—that the probable cause determination would be
 at 4, 21]. Fourth, they contend that the Residence Warrant          affected. Id.
 was unconstitutionally overbroad and not particularized. [Id.
 at 4, 22]. Finally, they argue that law enforcement seized        [Doc. 65 at 5-6]. For these same reasons, I find Defendants'
 computers that were outside the scope of the Residence            first argument without merit.
 Warrant. 7 [Id. at 5, 21].


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                                                                     the type of unlawful conduct under investigation. [Second
                                                                     Kriplean Aff. ¶¶ 12, 13].
                       2. Probable Cause

 Defendants next argue that the Residence Warrant was not
 supported by probable cause because Special Agent Kriplean                     4. Overbroad and Not Particularized
 did not state that possession of the prescription drug in Steel
 Woody is per se illegal. [Doc. 46 at 4, 20]. As with Defendants'    Defendants next argue that the Residence Warrant was
 arguments regarding probable cause in the Business Location         unconstitutionally overbroad and not particularized because
 Warrants, Defendants again propose a hypertechnical review          it was not limited to the alleged contraband, but rather
 of the warrants, which is contrary to the Eleventh Circuit case     authorized law enforcement to seize “all business records
 law.                                                                and related correspondence, in whatever form, including
                                                                     handwritten and computer generated.” [Doc. 46 at 4, 22].
 In his affidavit in support of the Residence Warrant, Special       Defendants have provided no case law to support their
 Agent Kriplean stated that during a consent search of Mesika's      position that law enforcement could not search for documents
 residence, he observed several items in plain view in an            and other evidence, but somehow should have been limited to
 attached garage, including: (1) international parcels addressed     “contraband,” and I am aware of no such law.
 to Mesika and/or his business partner, which appeared
 to contain chemical compounds; (2) labels for dietary               Moreover, the Residence Warrant was not open ended. Rather,
 supplements; and (3) a box containing the purported dietary         it limited the items to be seized to “[e]vidence, fruits, and
 supplement “Steel Woody.” [Doc. 63-1, Second Kriplean               instrumentalities of violations of federal law, including but
 Aff. ¶ 11]. He described these items as consistent with
                                                                     not limited to     Title 21 U.S.C. § 331(a),      21 U.S.C.
 other items obtained during the investigation of Mesika, and
 noted that agents had previously acquired samples of “Steel         § 841(a)(1) and      (b)(1)(E), and 21 U.S.C. § 846, related
 Woody” during their investigation, which had been analyzed          to purported dietary supplements.” [Doc. 63-2 at 4]. By
 and found to contain the undeclared active pharmaceutical           explicitly limiting the scope of what could be seized to
 ingredient sildenafil. [Id. ¶ 12]. Special Agent Kriplean           evidence of the crimes under investigation, the Residence
 also stated that based on his experience and training, it           Warrant was sufficiently particular to enable the searchers
 is common for businesses and individuals engaged in the             to reasonably ascertain and identify the documents and
 illegal manufacturing and distribution of adulterated and/          information authorized to be seized. See Wilson, 2012 WL
 or misbranded foods and/or drugs (i.e., the same criminal           7992597, at *15;    Smith, 918 F.2d 1501, 1507-08.
 activity for which Mesika had just been indicted) to hide
 and maintain contraband and records of such crimes in their
 homes. [Id. ¶ 13]. Taken together, these facts easily satisfy the
 legal requirements for probable cause.                                           5. Seizure of Evidence Outside the
                                                                                   Scope of the Residence Warrant

                                                                     Finally, Defendants argue that law enforcement seized
                       3. Lack of a Nexus                            computers that were outside the scope of the Residence
                                                                     Warrant. According to Defendants, the Residence Warrant
  *13 Defendants next argue that the Second Kriplean                 authorized the seizure only of records generated by a
 Affidavit failed to describe a nexus between the places to          computer, not the computers themselves. [Doc. 46 at 5,
 be searched and the items sought because at the time the            21]. In making this argument, Defendants again ignore both
 warrant was issued, Mesika had not been charged with—and            the wording of the warrant and the law governing search
 was not suspected of—manufacturing or distributing “Steel           warrants.
 Woody.” [Doc. 46 at 4, 21]. This argument simply ignores
 Special Agent Kriplean's statement that his investigation had       The Residence Warrant identified the following category of
 revealed that certain samples of “Steel Woody” contained            things that could amount to evidence of violations of the
 an undeclared active pharmaceutical ingredient and that             specified federal laws: “[a]ll business records and related
 Mesika's possession of “Steel Woody” is consistent with             correspondence, in whatever form, including handwritten
                                                                     and computer-generated, pertaining to the illegal purchase,


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 possession, and/or unauthorized distribution of misbranded        the intended way in which agents would, search for, identify,
 and/or adulterated foods and/or drugs.” [Doc. 63-2 at 4].         and ultimately seize electronic evidence. [Cooper Aff. ¶¶
 The Residence Warrant specifically defined the term 39            15-19]. Defendants' characterization of the Cooper Affidavit
 “documents” that could be seized as including, among              as overbroad and non-particularized simply is not supported
 other things, “computer Internet records” and “electronic         by the facts or the law. It is evident that the initial seizure of
 correspondence.” [Id.]. Therefore, the agents' seizure of         the computers from Mesika's residence was within the scope
 repositories for such items, including computers, from            of the Residential Search Warrant, and the separate Computer
 Mesika's residence during execution of the Residence Warrant      Warrant properly authorized agents to search the computers
 was reasonable. See United States v. Patel, 429 Fed.Appx.         for evidence of specific, enumerated crimes.
 885, 888 (11th Cir. 2011) (per curiam) (“[t]he crucial inquiry
 is always whether the search and seizures were reasonable         Defendants also argue that the Computer Warrant was
 under all the circumstances”) (citation and internal quotations   unconstitutionally overbroad and not particularized because it
 omitted).                                                         authorized the seizure of all information and records “with no
                                                                   probable cause limitation on which electronic data, computers
                                                                   or files therein could be seized”; no procedures were set to
    C. The Computer Warrant                                        govern the search of the computers; and no reason was given
 With respect to the Computer Warrant, Defendants argue            for why an inspection could not be performed on site. [Doc. 46
 that: (1) the Computer Warrant was not supported by               at 6, 24-25]. I find these arguments unpersuasive for the same
 probable cause; (2) the Cooper Affidavit failed to describe a     reasons stated earlier in this Report and Recommendation.
 nexus between the computers and the items sought; (3) the         The Computer Warrant did, in fact, contain limitations on
 Computer Warrant was unconstitutionally overbroad and not         the information that could be seized. [Doc. 84-6 at 4]. The
 particularized; and (4) the Computer Warrant should have          U.S. Constitution does not require that warrants of this nature
 contained, but did not contain, a time-frame limitation. 8        specify search protocols. See supra at 31-32. Finally, the
 [Doc. 46 at 5, 6, 23-25]. These arguments, like their             Cooper Affidavit explained why an on-site inspection would
 predecessors, are unavailing.                                     not be sufficient. [Cooper Aff. ¶¶ 18-19].

  *14 Twelve days after lawfully seizing the three computers
 from Mesika's residence, agents sought a separate warrant           D. Leon Good Faith Exception to the Exclusionary
 before searching those computers for evidence of criminal           Rule
 activities. In his affidavit, Special Agent Cooper stated         Moreover, the Government correctly argues that even if the
 that on June 21, 2016, Mesika was indicted for conspiring         various warrants at issue in the Warrants Motion were not
 to distribute controlled substances, distributing controlled      supported by probable cause (which they were), the good faith
 substances, introducing misbranded drugs into interstate          exception to the exclusionary rule under      United States v.
 commerce, and money laundering. [Doc. 84-7, Cooper Aff.           Leon, 468 U.S. 897, 926 (1984), saves the fruit of the warrants
 ¶ 10]. He stated that based on the investigation to date, he      from suppression. [Doc. 84 at 32]. Defendants did not file a
 was familiar with the records produced by Mesika in the           reply or otherwise respond to this argument.
 course of manufacturing and distributing misbranded drugs
 and anabolic steroids, which included email correspondence,       In Leon, the Supreme Court held that even if a search
 purchase orders, and invoices. [Id. ¶ 12]. Special Agent          warrant is ultimately found to be unsupported by probable
 Cooper averred that based on his training and experience,         cause, the Fourth Amendment will not bar admission of
 he was aware that computers are typically used to create,         evidence obtained by law enforcement officers if the officers
 maintain, and transmit those types of records and that people     were acting in reasonable reliance upon the search warrant.
 involved in illegal enterprises and the laundering of illicit
                                                                   See     United States v. Martin, 297 F.3d 1308, 1313 (11th
 proceeds commonly produce and maintain records of such
 criminal activity on their computers. [Id. ¶ 13].                 Cir. 2002) (citing      Leon, 468 U.S. at 922). Because
                                                                   the purpose of the exclusionary rule is to deter unlawful
 Like the earlier affidavit submitted to Judge Brill in support    police misconduct, the Leon good faith exception requires
 of the Business Location Warrants, the Cooper Affidavit           suppression “only if the officers were dishonest or reckless
 included an entire section detailing the probable cause to, and   in preparing their affidavit or could not have harbored an



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 objectively reasonable belief in the existence of probable
                                                                *15     Martin, 297 F.3d at 1313 (internal quotation marks
 cause.”     Leon, 468 U.S. at 926. The Eleventh Circuit       omitted). Here, Defendants did not file a reply or otherwise
 interpreted Leon as follows:                                  argue any of the exceptions apply. Having reviewed the entire
                                                               record, all the arguments presented, and the relevant case
                                                               law, I can see no basis for finding that any of the four
            The Leon good faith exception applies              circumstances articulated about are applicable here. Thus, if
            in all but four limited sets of                    the warrants lacked the requisite probable cause, Leon would
            circumstances [citation omitted]. The              apply and prevent application of the exclusionary rule.
            four sets of circumstances are as
            follows: (1) where the magistrate                  For all the reasons discussed herein, I recommend that the
            or judge in issuing a warrant was                  Warrants Motion be DENIED in its entirety.
            misled by information in an affidavit
            that the affiant knew was false or
            would have known was false except
                                                                                    CONCLUSION
            for his reckless disregard of the
            truth; (2) where the issuing magistrate            I RECOMMEND that Mesika's Statements Motion, as
            wholly abandoned his judicial role in              amended, [Docs. 47, 61], be DENIED, and that the Warrants
            the manner condemned in           Lo-Ji            Motion [Docs. 46, 110] also be DENIED as to both Kuecher 9
            Sales, Inc. v. New York, 442 U.S.                  and Mesika.
            319, 99 S. Ct. 2319, 60 L.Ed.2d
            920 (1979); (3) where the affidavit                I have now addressed all referred pretrial matters and have
            supporting the warrant is so lacking               not been advised of any impediments to the scheduling of a
            in indicia of probable cause as to                 trial. Accordingly, the case is CERTIFIED READY FOR
            render official belief in its existence            TRIAL.
            entirely unreasonable; and (4) where,
            depending upon the circumstances of                SO REPORTED AND RECOMMENDED, this 30th day
            the particular case, a warrant is so               of March, 2018.
            facially deficient—i.e., in failing to
            particularize the place to be searched
            or the things to be seized—that the                All Citations
            executing officers cannot reasonably
                                                               Not Reported in Fed. Supp., 2018 WL 2124899
            presume it to be valid.




                                                      Footnotes


 1      Mesika is part owner of at least two supplement-related businesses that share a common physical address
        of 4301 Pleasantdale Road in Atlanta, Georgia—Active Sports Supplements, LLC and Adrenaline Nutrition
        Supplements, LLC. [Tr. at 8; Doc. 84-5 ¶¶ 31-32]. Throughout the evidentiary hearing on the Statements
        Motion, the lawyers and witnesses also referred to those business entities as “Active Sports Nutrition” [Tr.
        at 8, 21, 23, 61, 64], “Nutritional Adrenaline Supplements” [id. at 63], “Applied Nutrition Supplements” [id.
        at 47], “Adrenaline Sports Nutrition” [id. at 9, 21, 39, 52, 63], and “ANS” [id. at 21, 47]. It is not clear from
        the record whether these are different entities or other names for Mesika's two businesses. It appears to
        me, however, that the distinction between and among the businesses is not important for purposes of the
        Statements Motion. For that reason, I have not distinguished among the businesses in the Statements Motion



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       portion of this Report and Recommendation. If there is an important distinction that I have missed, the parties
       may raise that issue in any objections they may file.
 2     The subpoena was not introduced into evidence. It is unclear from the record which of Mesika's businesses
       it was directed to; the testimony is contradictory on this point. [Compare Tr. at 9 (Q: “And so what was the
       purpose of your visit to Adrenaline Sports Nutrition on October 4, 2013?” A: “We had a subpoena issued
       from the Western District of Tennessee for records for the company.”) with Tr. at 23 (“It was for Active Sports
       Supplements.”) ]. Again, it does not appear that there is an issue with respect to which particular company
       the Government was seeking to serve with the subpoena; neither party disputed that the subpoena was
       addressed to one of Mesika's companies. [Id. at 24].
 3     For example, Mesika originally complained that he was questioned after he asked for a lawyer [Doc. 47 at
       8-10], but in his post-hearing brief, he appears to have abandoned that argument [Doc. 80].
 4     Three of the Business Locations are in Norcross, Georgia and one is in Atlanta, Georgia: 4301 Pleasantdale
       Road, Suite I, Atlanta, Georgia (Subject Location A); 6080 McDonough Drive, Suite D, Norcross, Georgia
       (Subject Location B); 1755 Wilwat Drive, Suite E, Norcross, Georgia (Subject Location C); and 6250-A
       McDonough Drive, Norcross, Georgia (Subject Location D). [Kriplean Aff. ¶ 2].
 5     Defendants also contend that the Kriplean Affidavit contained stale information, but they make no specific
       argument with respect to staleness. [Doc. 46 at 3, 13]. In the absence of any argument directing the Court to
       any particular evidence or legal authority, I find this argument lacking in merit.
 6     Thus, the Fourth Amendment requires that a warrant particularly describe both (1) the place to be searched
       and (2) the persons or things to be seized. See United States v. Travers, 233 F.3d 1327, 1329 (11th Cir. 2000).
       Here, Defendants argue that the Business Location Warrants were not sufficiently particular with respect to
       the things to be seized; they do not make that argument with respect to the place to be searched.
 7     Defendants also argue that the Second Kriplean Affidavit and the subsequent Cooper Affidavit contained
       stale information because Mesika had already been indicted at the time those affidavits were signed. [Doc.
       46 at 4, 6, 21, 23]. Defendants provide no legal authority for the proposition that after a defendant is indicted,
       law enforcement cannot continue to investigate suspected criminal activity or obtain search warrants in
       furtherance of such investigations. In the absence of any such legal authority, I find this argument meritless.
 8     Defendants also argue that the evidence used to obtain the Computer Warrant was the fruit of the poisonous
       tree because the Residence Warrant—through which law enforcement seized the computers—was obtained
       through evidence obtained illegally, i.e., the officers looking in the closet without a warrant; and the computers
       were outside the scope of the Residence Warrant. [Doc. 46 at 22-23]. For the reasons stated previously in
       this Report and Recommendation, I conclude that there was nothing improper about the officers looking in
       the closet during the consent search of Mesika's house, and the computers were not outside the scope of
       the Residence Warrant.
 9     Additionally, Kuecher has failed to show that she had a reasonable expectation of privacy in any the locations
       identified in the Business Location Warrants, in Mesika's residence, or in the computers. I allowed Kuecher
       to adopt Mesika's Warrants Motion. [Doc. 109]. Thereafter, I gave her the opportunity to establish standing.
       [Doc. 120 (“If Kuecher contends that she has standing to challenge one or more of the warrants at issue in
       the Warrants Motion, Kuecher must make a showing, in writing, that she has standing to do so, no later than
       the close of business on March 26, 2018.”) ]. Kuecher failed to accept my invitation to make such a showing.
       She has failed to demonstrate that she had a legitimate expectation of privacy in any of places searched.
       Accordingly, the Warrants Motion should be denied as to her for this additional reason.


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